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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


JAY ALIX,

                    Plaintiff,          Case No. 18-cv-04141 (JMF)

             v.

MCKINSEY & CO., INC.; MCKINSEY          ORAL ARGUMENT REQUESTED
HOLDINGS, INC.; MCKINSEY &
COMPANY INC. UNITED STATES;
MCKINSEY RECOVERY &
TRANSFORMATION SERVICES U.S.,
LLC; DOMINIC BARTON; KEVIN
CARMODY; JON GARCIA; SETH
GOLDSTROM; ALISON PROSHAN;
ROBERT STERNFELS; and JARED
YERIAN,

                    Defendants.



        DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
             MOTION TO DISMISS THE AMENDED COMPLAINT



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       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants McKinsey & Co., Inc.,

McKinsey Holdings, Inc., McKinsey & Company Inc. United States (“McKinsey US”), and

McKinsey Recovery & Transformation Services U.S., LLC (“McKinsey RTS” or “RTS”)

(collectively, “McKinsey” or the “Corporate Defendants”), and Dominic Barton, Kevin Carmody,

Jon Garcia, Seth Goldstrom, Alison Proshan, Robert Sternfels, and Jared Yerian (collectively the

“Individual Defendants”), respectfully move this Court to dismiss with prejudice the Amended

Complaint of Plaintiff Jay Alix (“Alix” or “Plaintiff”), as assignee of his namesake firm,

AlixPartners LLP (“AlixPartners”).

                                 PRELIMINARY STATEMENT

       Despite having had the opportunity to amend his prolix complaint with Defendants’ initial

motion to dismiss papers as a guide, Jay Alix has done little to address the fatal shortcomings of

his RICO claims. The explanation for his failure is simple: the deficiencies in Alix’s claims are

manifestly incurable. It is easy to see why neither AlixPartners nor any other debtor adviser has

joined Jay Alix in this action: black letter law dictates that the RICO statute is unavailable to

business competitors such as AlixPartners in this context. And there is still not a single fact alleged

in the sprawling Amended Complaint that supports its headline accusation that McKinsey has

“unlawfully schemed to harm” AlixPartners or any of its other competitors. (Amended Complaint

(hereinafter “AC”) ¶ 1.)

       To be sure, Alix’s second bite at the proverbial apple includes new allegations splayed over

many additional pages—the Amended Complaint has expanded to 224 pages from the original

150, not counting the new 43-page “joint declaration” appended to his new pleading. The most

remarkable aspect of this declaration is not that it has been filed in support of an amended

complaint (though that is indeed remarkable), but that Alix seeks to pass off its authors as experts.
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In fact, they are all counsel to Alix’s alter ego Mar-Bow in the Alpha Natural Resources case at

issue in the Amended Complaint, including one who currently is representing him in the

courtroom.1 The filing of this highly unusual declaration speaks volumes about the real purpose

of Alix’s new pleading, which certainly is not to address the legal infirmities identified in

Defendants’ initial motion to dismiss. Rather, its purpose is to generate more media headlines in

furtherance of Alix’s personal campaign against a successful competitor to the company he

founded.

        The Amended Complaint rests on the insupportable premise that AlixPartners has standing

to pursue a civil RICO claim for competitive injuries purportedly suffered as a result of

McKinsey’s Rule 2014(a) disclosures in thirteen bankruptcy cases. Those RICO claims fly in the

face of settled Supreme Court precedent that precludes a competitor like AlixPartners from suing

under that statute for indirect harms like those of which Alix complains. The alleged injuries are

not only indirect, and thus incapable of satisfying RICO’s proximate cause requirement, but they

are so attenuated that the Amended Complaint fails to plead actual, “but-for” causation. The

alleged chain of actual causation is facially implausible given, among other things, Alix’s failure

to allege that (in all but one case) AlixPartners even applied for the thirteen bankruptcy

assignments won by McKinsey and his inability ever to prove that any debtor would have retained

AlixPartners or that any bankruptcy court would have approved such a retention.

        At its inception—and to this day—the core of Alix’s dispute with McKinsey has been

simple and hardly the stuff of fraud, let alone RICO, claims: he disagrees with what he asserts is

McKinsey’s inadequate disclosure of “connections” to Interested Parties under Bankruptcy Rule


1
  Ex. 22, ANR Doc. 4127 (listing Steven Rhodes as counsel to Mar-Bow Value Partners, LLC); Ex. 16, ANR Doc.
3675 (listing Steven Rhodes, Judith K. Fitzgerald, Lois R. Lupica, and John A. E. Pottow as of counsel for Mar-Bow
Value Partners, LLC). All exhibits submitted in conjunction with this motion are attached to the Declaration of
Jennifer M. Selendy dated October 10, 2018 and are referred to herein as “Ex. _.”

                                                        2
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2014(a). That rule requires professionals proposed to be hired by a debtor in chapter 11 bankruptcy

cases to disclose connections to parties involved in the case to ensure disinterested service to the

debtor. It does not specify how those disclosures must be made, and until mid-2016, in order to

protect the confidentiality of its consulting clients, McKinsey listed its Rule 2014(a) “connections”

by descriptive category rather than by name. While McKinsey’s practice was accepted by

bankruptcy courts for fifteen years, and the text of Rule 2014(a) has remained the same, Alix now

insists that all disclosures must be made by name and must include connections of any and all

affiliates.

        Alix’s reckless use of the RICO statute is the latest installment in an escalating pattern of

anticompetitive behavior directed toward McKinsey. Alix first advanced his objection to

McKinsey’s form of disclosure directly to McKinsey, which disagreed with him. He then formed

a special purpose company (Mar-Bow) for the sole purpose of making the same objection to

McKinsey’s Rule 2014(a) disclosures in a Virginia bankruptcy case. Despite multiple adverse

rulings in the bankruptcy court, the district court, and the Fourth Circuit Court of Appeals, he

continues to try to relitigate the same Rule 2014(a) issue in that case. In the instant action, Alix

has aggressively transformed his dispute over the interpretation of a bankruptcy disclosure rule

into claims that the entire family of McKinsey companies and seven professionals are racketeers

who have engaged in, among other things, fraud, obstruction of justice, money laundering, bribery,

and witness tampering.

        While the Amended Complaint characterizes McKinsey’s disclosures as virtually non-

existent, the actual Rule 2014(a) disclosure documents, referenced throughout the Amended

Complaint (but curiously not attached to it), demonstrate that McKinsey complied with Rule

2014(a). From the first, the disclosures not only identified McKinsey US’s and RTS’s connections



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and those of their affiliates, but also described, in detail, the specific methodology employed to

identify connections to Interested Parties in each bankruptcy. They also provided sufficient

information for Interested Parties (be they debtor(s), creditors, the U.S. Trustee, or the bankruptcy

court) to assess McKinsey’s disinterestedness without violating the confidentiality of McKinsey

clients. What the earlier disclosures typically did not do—and this is the crux of Alix’s grievance

against McKinsey—is publicly disclose the identity of McKinsey clients by name. While Alix

may believe that McKinsey’s decision to disclose by descriptive category rather than by name was

insufficient under Rule 2014(a), the law is not so rigid.2

        Setting aside Alix’s reckless and unfounded use of the RICO statute, his pleading is also a

vicious personal attack on the good names and reputations of the seven current and former

McKinsey professionals named as Individual Defendants. The Amended Complaint accuses them

of violating federal and state statutes hundreds of times over. “[T]he mere assertion of a RICO

claim has an almost inevitable stigmatizing effect on those named as defendants.” Sanchez v. ASA

Coll., Inc., No. 14-cv-5006 (JMF), 2015 WL 3540836, at *5 (S.D.N.Y. June 5, 2015).

Unfortunately for those individuals, the public record of Alix’s baseless accusations that they

engaged in extensive racketeering activity will far outlast the Amended Complaint.

        Defendants address in detail below, as they must, all of the defects in the Amended

Complaint. But in broad strokes, the Amended Complaint suffers from two overarching fatal

flaws: (1) a business competitor like AlixPartners is not the type of party to whom RICO provides

a cause of action here because it has not been directly injured; and (2) a dispute over the

interpretation of a bankruptcy rule is not the type of allegation that amounts to fraud. Alix places




2
  Since mid-2016, RTS has modified its practice to disclose direct connections by name, rather than by category. It
has done so in its last three engagements.

                                                        4
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the first defect in sharp relief with his self-centered and misguided allegation that the purpose of

Rule 2014(a) is to “provide a level playing field for professionals [like AlixPartners] in

bankruptcy.” (AC ¶ 58.) That is wrong: the rule protects the interests of the parties to chapter 11

cases, not the interests of competitors of the advisor retained by the chapter 11 debtor. Alix

attempts to obscure the second defect by making sweeping pronouncements of what the law is,

without actual support. Most importantly, regardless of whose interpretation of Rule 2014(a) is

determined to be the better one in the bankruptcy courts, where all the Interested Parties have every

opportunity and incentive to be heard, McKinsey’s pursuit of its interpretation cannot plausibly

support the sweeping racketeering allegations in Alix’s Amended Complaint.

       Each of the claims in the Amended Complaint is deficient and must be dismissed. First

and foremost, the RICO claims (Counts 1 through 4) must be dismissed in their entirety for failure

to plead either proximate or actual (but-for) causation. (See infra §§ I.A-B.) Independently, all

the fraud-based RICO predicates must be dismissed because Alix fails to allege a valid legal duty

to disclose—the sine qua non of each of the alleged omissions essential to his racketeering claim

against McKinsey. (See infra § I.C.1.) Likewise, Alix’s allegations of fraud—which reflect

nothing more than a dispute over the proper interpretation of the bankruptcy disclosure rules—fail

to meet the heightened pleading burden for scienter in this Circuit. (See infra § I.C.2.)

       The Amended Complaint also is rife with additional defects mandating dismissal as to both

the Corporate and Individual Defendants. Each of the predicate acts suffers from its own,

independent faults requiring dismissal. (See infra § I.C.3-4.) Moreover, the Amended Complaint

fails to plead adequately any racketeering act against any of the Individual Defendants. While all

the arguments mentioned above are fully applicable to the individuals, the pleading failures are

particularly acute as to them. The Amended Complaint fails to allege facts giving rise to a



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plausible inference that the Individual Defendants engaged in any crimes at all, let alone facts of

sufficient particularity to support the many fraud-based allegations. (See infra § I.D.) Alix also

fails to plead a viable RICO enterprise against the Corporate Defendants (see infra § I.E), that any

of the Individual Defendants conducted or participated in the conduct of any enterprise (see infra

§ I.F), or that any of the Defendants conspired to commit RICO violations. (See infra § I.G.) And

the RICO claims are barred in substantial part (and wholly as to Individual Defendants Yerian,

Goldstrom, and Garcia) by the four-year RICO statute of limitations. (See infra § I.H.)

        Finally, the state law claims, alleged solely against the Corporate Defendants, all fail. The

oral contract that Alix tries to create from certain conversations is not only unenforceable but fails

to meet the most basic elements of contract formation, and his attempt to enforce that nonexistent

agreement through a breach of contract or promissory estoppel theory (Counts 5 and 6,

respectively) fails. And his claim for tortious interference with business expectancy (Count 7) is

both inadequately pleaded and preempted by federal law. (See infra § II.)

        For these and all the reasons set forth below, the Amended Complaint should be dismissed

in its entirety with prejudice.

                                       FACTUAL BACKGROUND3

        McKinsey and Its Client Service Model

        McKinsey & Co., Inc. is a global management consulting firm with almost 30,000

employees working in more than 120 cities worldwide. For nearly a century, some of the world’s

most well-known institutions have relied upon McKinsey’s broad industry and functional expertise

to enhance their performance. These clients often require that McKinsey’s involvement with their



3
  For purposes of this motion to dismiss, McKinsey accepts the well-pleaded facts as alleged in the Amended
Complaint. To the extent any portion of this case survives this motion, McKinsey can and will demonstrate the falsity
of the allegations in the Amended Complaint.

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organizations remains confidential, so as not to affect their operations and business strategies

adversely. One manifestation of McKinsey’s commitment to maintaining the confidentiality of

client names is that its consulting contracts typically include provisions limiting McKinsey’s

ability to disclose the identity of the client absent consent or other narrow exceptions (such as

when identity is otherwise public or such disclosure is required by law).

       As part of its diverse and wide-ranging client service portfolio, McKinsey serves chapter

11 debtors. McKinsey began doing so in 2001 through its wholly-owned subsidiary McKinsey

US. Since 2011, it has done so through another wholly-owned subsidiary, RTS. (AC ¶ 48.)

McKinsey US and RTS have been retained as a bankruptcy professional in thirteen chapter 11

cases to date. (Id.) As Alix acknowledges, McKinsey US and RTS have been successful in helping

distressed companies emerge from bankruptcy. (Id. at ¶ 4.) With deep functional and industry

expertise and unmatched scale, McKinsey has much broader experience than other restructuring

advisors, which positions it well to advise chapter 11 debtors.

       Disclosures Required by Bankruptcy Rule 2014(a)

       The retention of qualified and disinterested professionals in chapter 11 cases is overseen

by the bankruptcy court. (Id. at ¶¶ 52-53.) Section 327 of the Bankruptcy Code, which governs

such retentions, requires professionals to submit a “verified statement” pursuant to Bankruptcy

Rule 2014(a) “setting forth the person’s connections with the debtor, creditors, any other party in

interest, their respective attorneys and accountants, the United States trustee, or any person

employed in the office of the United States trustee.” Fed. R. Bankr. P. 2014(a) (emphasis added).

Rule 2014(a) includes no specific requirements about the content of professionals’ disclosures: it

does not define “connections,” sets forth no required process for professionals to employ to




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identify connections, is silent on the form the disclosures must take (including whether they must

be by name), and does not specify that connections of affiliates must be disclosed. See id.

        The U.S. Trustee plays a particularly important role in ensuring that bankruptcy

professionals comply with Rule 2014(a). It is empowered with “important oversight and watchdog

responsibilities to ensure honesty and fairness in the administration of bankruptcy cases and to

prevent and ferret out fraud.” H.R. REP. 99-764, 99th Cong., 2d Sess. at 18 (1986). Among them

is “monitoring applications filed under section 327 of title 11.” 28 U.S.C. § 586(a)(3)(I). At the

same time, all other parties to a bankruptcy case—including the debtor(s) and creditors, and of

course the bankruptcy court itself—also are authorized to challenge, or seek additional information

with respect to, any professionals’ Rule 2014(a) disclosure. (AC ¶ 176.) No professional can be

retained without obtaining the approval of the presiding bankruptcy judge. See 11 U.S.C. § 327(a).

        McKinsey’s Rule 2014(a) Disclosures

        Alix alleges that McKinsey US and RTS have “submitted false and materially misleading

affidavits and declarations” in thirteen chapter 11 cases.4 (AC ¶ 2.) He asserts, among other

things, that RTS was “founded for the express purpose of skirting the Bankruptcy Code’s

disclosure rules” (id. ¶ 64), that McKinsey US and RTS “failed to name almost every one of [their]

connections, relationships, and conflicts” (id. at ¶ 69), failed to be “exhaustive” and “voluminous”


4
 The thirteen bankruptcies at issue in the Amended Complaint are: In re Hayes Lemmerz Int’l, Inc., No. 01-BR-11490
(Bankr. D. Del. filed Dec. 5, 2001) (“Hayes Lemmerz”); In re UAL Corp. (United Airlines), No. 02-BR-48191 (Bankr.
N.D. Ill. filed Dec. 9, 2002) (“United”); In re Mirant Corp., No. 03-BR-46590 (Bankr. N.D. Tex. filed July 14, 2003)
(“Mirant”); In re Lyondell Chem. Co., No. 09-BR-10023 (Bankr. S.D.N.Y. filed Jan. 6, 2009) (“Lyondell”); In re
Harry & David Holdings, Inc., No. 11-BR-10884 (Bankr. D. Del. filed Mar. 28, 2011) (“Harry & David”); In re AMR
Corp., No. 11-BR-15463 (Bankr. S.D.N.Y. filed Nov. 29, 2011) (“AMR”); In re AMF Bowling Worldwide, Inc., No.
12-BR-36495 (Bankr. E.D. Va. filed Nov. 13, 2012) (“AMF” or “AMF Bowling”); In re Edison Mission Energy, No.
12-BR-49219 (Bankr. N.D. Ill. filed Dec. 17, 2012) (“Edison Mission” or “Edison Mission Energy”); In re NII
Holdings, Inc., No. 14-BR-12611 (Bankr. S.D.N.Y. filed Sept. 15, 2014) (“NII Holdings”); In re The Standard
Register Co., No. 15-BR-10541 (Bankr. D. Del. filed Mar. 12, 2015) (“Standard Register”); In re Alpha Natural
Resources, Inc., No. 15-BR-33896 (Bankr. E.D. Va. filed Aug. 3, 2015) (“ANR” or “Alpha Natural Resources”); In
re SunEdison, No. 16-BR-10992 (Bankr. S.D.N.Y. filed Apr. 21, 2016) (“SunEdison”); In re GenOn Energy, Inc., No.
17-BR-33695 (Bankr. S.D. Tex. filed June 14, 2017) (“GenOn”).

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in their disclosures (id. at ¶¶ 70-71), “failed to describe [connections] with adequate detail” (id. at

¶ 69), and failed to identify by name any connections to “Interested Parties.”5 (See, e.g., id. at

¶¶ 72, 76, 79.) Alix asserts that McKinsey acted to “unlawfully conceal” its connections to avoid

“disqualification from employment” (id. at ¶¶ 2, 9) and that McKinsey US and RTS instead made

“piecemeal disclosures” to hide conflicts. (Id. at ¶ 12.)

         The Rule 2014(a) disclosures, which are submitted with this motion,6 show the opposite.

McKinsey disclosed its connections to Interested Parties, complying fully with Rule 2014(a). Until

mid-2016, most McKinsey US and RTS disclosures revealed connections to Interested Parties by

descriptive category (e.g., “Major Customer” or “Major Bank Lender”); consistently since mid-

2016, RTS’s policy has been to disclose connections by name with rare exceptions. In all cases,

the disclosures were robust, comprehensive, and fully explained what was being disclosed, what

was not, and why. (See, e.g., Ex. 5-A, Harry & David Doc. 105-3 ¶ 9; Ex. 6-A, AMR Doc 581

¶ 19; Ex. 9-A, NII Holdings Doc. 153 ¶ 26.) Across the thirteen bankruptcies at issue, McKinsey

US and RTS publicly filed 39 declarations, totaling more than 498 pages, that both disclosed their

connections to Interested Parties and set forth the process they undertook to identify them.7 (See,


5
  In each bankruptcy case, the debtor produces a list of “Interested Parties,” which includes creditors, major customers,
law firms, and other parties who have connections to the debtor(s). This list may change over the course of the case.
6
  In ruling upon Defendants’ motion to dismiss under Rule 12(b)(6), this Court may consider documents referenced
in the Amended Complaint and those that are “integral” to it. DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111
(2d Cir. 2010) (in deciding a motion to dismiss, “a district court may consider . . . documents incorporated by reference
in the complaint” and those the plaintiff “relies heavily upon . . . thereby rendering the document ‘integral’ to the
complaint”) (citing Mangiafico v. Blumenthal, 471 F.3d 391, 398 (2d Cir. 2006)). The McKinsey US and RTS Rule
2014(a) disclosures are attached as Exhibits 1-A through 13-D to the Selendy Declaration.
7
  For example, in AMF Bowling, RTS disclosed that it: (1) emailed employees of RTS and employees of RTS affiliates
“to determine the existence of any client service provided by such employees within the last three years to parties-in-
interest” (Ex. 7, AMF Bowling Doc. 125 ¶ 17); (2) emailed employees of RTS and RTS affiliates to “determine the
existence of client services provided by such employees within the last three years to any client that focused on a
direct commercial relationship or transaction with the Debtors,” (id.); (3) emailed “employees of McKinsey RTS and
its affiliates to . . . request information on any relationships with the Debtors, the U.S. Trustee and the Court, as well
as equity ownership in the Debtors,” (id.); (4) “made inquiry to all partners at its client service affiliates worldwide
about whether they currently provide consulting services to entities that focus on a direct commercial relationship or
transaction with the Debtors,” (id. at ¶ 23(a)); (5) emailed “all employees at all its client service affiliates worldwide
as to whether such employee or a member of his/her immediate family is related to or employed by the Debtors, the

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e.g., AC ¶¶ 71, 75, 78, 83, 89.) The declarations also made explicit, among other things, that

McKinsey advises Interested Parties in matters unrelated to the bankruptcy. (See, e.g., id.)8

         Jay Alix’s Campaign to Drive McKinsey Out of the Restructuring Advisory Market

         From 2001, when McKinsey entered the restructuring advisory market, until 2016,

McKinsey US’s (and later RTS’s) method of disclosing connections was accepted—without

exception—by all parties to each bankruptcy in which it was retained as debtor’s advisor. After

RTS’s market share began to grow,9 however, Alix—acting alone and without the support of any

of the hundreds of Interested Parties in these bankruptcies—began a campaign to undermine RTS’s

ability to provide consulting services to chapter 11 debtors and to eliminate it as one of

AlixPartners’s principal competitors. (AC ¶¶ 1, 49.)

                       a.    Alix Lectures McKinsey’s Managing Partner.

         Starting in September 2014, Alix began “confront[ing]” McKinsey leaders about RTS’s

Rule 2014(a) disclosures. (Id. at ¶ 119.) In the first such encounter, Alix lectured Dominic Barton,

McKinsey’s then-managing partner, about Alix’s interpretation of Rule 2014(a)’s requirements.

(Id. at ¶ 120.) Alix “provided a lengthy and detailed exposition of the relevant legal principles”

underlying the disclosure obligations in bankruptcy cases, and “demonstrated how [in his view]

all of McKinsey’s past disclosure declarations were non-compliant and illegal because they failed

to identify connections by name and failed to describe connections in sufficient detail.” (Id. at




U.S. Trustee, and/or the Court . . . [or] whether such employee or a member of his/her immediate family owns equity
securities of the Debtors,” (id. at ¶¶ 23(c), (d)); and (6) inquired with partners at RTS affiliates “responsible for those
clients appearing on the [Interested Parties List]” to determine the scope of such services within the past three years,
(id. at ¶ 23(b)).
8
 See also Ex. 1-A, Hayes Lemmerz Doc. 103-3 ¶¶ 11, 12; Ex. 7, AMF Bowling Doc. 125 ¶ 27; Ex. 6-A, AMR Doc.
581 ¶ 30; Ex. 10, Standard Register Doc. 87-3 ¶ 33.
9
 From 2001 until RTS was formed in 2011, McKinsey was retained in four bankruptcies. In the seven years since it
was formed, RTS has been retained in nine bankruptcies.

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¶ 123.) A month later, Alix flew to London to confront Barton about RTS’s disclosures and to

press McKinsey to “exit the bankruptcy consulting business.” (Id. at ¶ 131.) Alix continued to

hector Barton over the next year (id. at ¶¶ 134, 157), repeating his claim that RTS was failing to

comply with Alix’s interpretation of Rule 2014(a).

        Despite numerous personal entreaties, McKinsey did not “shutter McKinsey RTS and

abandon bankruptcy consulting,” as Alix demanded. Rather, RTS continued to formulate Rule

2014(a) disclosures as it believed appropriate and to seek court approval to advise debtors in

chapter 11 cases. (Id. at ¶¶ 377, 525.) And bankruptcy courts continued approving RTS to provide

such advice without any objection from parties to the bankruptcy cases.

                     b. Alix Forms Mar-Bow to Continue His Attacks on McKinsey’s Disclosure
                        Practices.

        After failing to persuade McKinsey’s leadership to shut down RTS, Alix shifted tactics.

He decided to challenge McKinsey’s bankruptcy disclosures in bankruptcy court. To obtain the

standing required to do so, Alix formed Mar-Bow Value Partners, LLC (“Mar-Bow”)10 in 2016

and purchased a creditor claim in the ANR bankruptcy. (AC ¶ 179; Ex. 14, ANR Doc. 2603); Mar-

Bow Value Partners, LLC v. McKinsey Recovery & Transformation Servs. US, LLC, 578 B.R. 325

(E.D. Va. 2017). In that case, the debtors, Alpha Natural Resources and its affiliates, had filed an

application requesting permission to employ RTS as an advisor “to assist the Debtors with the

development and refinement of their strategic business plan.” Id. at 330.

        Consistent with its Rule 2014(a) obligations, RTS provided a declaration explaining the

process it undertook to identify connections with Interested Parties. As was its practice at the time,

RTS disclosed by descriptive category its own connections, and those of its client service affiliates



10
  Underscoring the obsessive nature of his conduct, Alix named his special-purpose company after Marvin Bower,
one of McKinsey’s iconic senior leaders during the 1930s.

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where the service focused on a direct commercial relationship with the debtors. (AC ¶ 187); Mar-

Bow Value Partners, 578 B.R. at 332. The bankruptcy court, like every other court in which

McKinsey US’s or RTS’s retention had been considered, examined RTS’s disclosures, determined

that RTS was a “disinterested person,” and granted the unopposed application to retain RTS. Id.

at 333.

          Through Mar-Bow, Alix began complaining to the U.S. Trustee about RTS’s disclosures.

(AC ¶ 183.) No other parties to the ANR case joined Alix’s complaint. On May 3, 2016, nine

months after the bankruptcy case began, the U.S. Trustee filed a motion to compel RTS to make

additional disclosures, including the disclosure of Interested Parties by name. (Id.)11 RTS

promptly engaged with the U.S. Trustee to address its issues, and sixteen days later, reached a

stipulation with the U.S. Trustee resolving the motion to compel. Specifically, RTS agreed to

make a supplemental disclosure that satisfied the U.S. Trustee that RTS’s disclosures “complied

with Rule 2014.” (Ex. 18, ANR Doc. 2474.)

          Alix was the only party unsatisfied with this result. On June 6, 2016, Mar-Bow filed a

motion to compel additional disclosures (AC ¶ 186) and also asked the bankruptcy court to

“suspend payment of McKinsey’s fees, and to disgorge all of McKinsey’s previously paid

fees. . . .” Mar-Bow Value Partners, 578 B.R. at 335. In response to Mar-Bow’s motion, the court

required RTS to disclose the names of certain connections and additional confidential information

in camera. Id. at 336; (AC ¶ 340). RTS immediately complied and, indeed, modified its approach

to disclosures going forward, including in subsequent bankruptcies. Mar-Bow Value Partners,

578 B.R. at 336. Upon submission of those materials, the court stated that it was “completely



11
   Alix was in contact with the U.S. Trustee even before Mar-Bow appeared in the case. See Mar-Bow Value Partners,
578 B.R. at 333 n.19; see also id. (noting that “[t]he record indicates that the U.S. Trustee filed its Motion to Compel
at least partially at Mar-Bow’s urging”).

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satisfied that there is not any type of disinterestedness problem with McKinsey going forward”

and that it was “very satisfied with the information” RTS had furnished. Id. at 338.

        Undeterred, Mar-Bow then filed a motion to “clarify,” which asked the bankruptcy court

for the right to review McKinsey’s confidential and competitively sensitive client information that

RTS had submitted in camera. Id. at 337. Mar-Bow also escalated the dispute and challenged the

debtor’s entire plan of reorganization, which left the court “confus[ed]” and the debtor’s counsel

“bewilder[ed].” Id. The court rejected both of Alix’s challenges.

        Still undeterred, Mar-Bow moved to stay the implementation of the plan. That too failed,

with the court noting that Mar-Bow “threaten[ed] to disrupt the hard-fought global peace achieved

among the Debtors and all of their major stakeholders.” Id. at 343. Mar-Bow then brought a flurry

of appeals to the district court, once again challenging McKinsey’s disclosures. Id. at 342-44. In

a thirty-page reported opinion, the district court recounted the history of Alix-qua-Mar-Bow’s

failed attempts to obtain access to the names of McKinsey’s confidential clients in the form of

further public disclosures. Id. It then rejected all of Mar-Bow’s appeals on the grounds of

equitable mootness or standing, but added that it had “no reservation about,” among other things,

the bankruptcy court’s decision to refuse to require RTS to file publicly the full list of in camera

disclosures. Id. at 349, 354 n.46. Mar-Bow then appealed to the Fourth Circuit, where it lost

again. Mar-Bow Value Partners, LLC v. McKinsey Recovery & Transformation Servs. US LLC,

736 F. App’x 412 (Mem) (4th Cir. 2018).

        In the meantime, Alix also moved in the bankruptcy court to reopen the case, alleging a

fraud on the court by RTS arising from many of the same allegations repeated in this Amended

Complaint. (Exs. 19-20, ANR Docs. 4122, 4124.)12 The U.S. Trustee filed a response to Mar-


12
   The gravamen of Mar-Bow’s motion was that RTS improperly failed to disclose a connection to “Whitebox,” a
third-party investment manager with whom McKinsey’s investment affiliate—MIO Partners, Inc. (“MIO”)—had

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Bow’s motion posing a limited set of questions that it wished to investigate. (Ex. 21, ANR Doc.

4126.) RTS filed a response to Mar-Bow’s motion explaining why Mar-Bow had not come close

to establishing a fraud on the court. And the debtors filed a response to Mar-Bow’s motion arguing

that the bankruptcy court should not indulge Mar-Bow’s “own agenda against McKinsey that is

completely unrelated to these bankruptcy cases” and that its motion represented “Mar-Bow’s latest

attempt to hijack these closed cases to continue its vendetta against McKinsey.” (Ex. 24, ANR

Doc. 4148 ¶¶ 4-5.) Mar-Bow’s motions remain pending before the bankruptcy court in the Eastern

District of Virginia as of the date of this filing.

                     c. Alix Escalates His Attack on McKinsey by Filing This Civil RICO Action.

        Having first failed to impose his will on McKinsey directly, and then having failed to get

three different courts in the ANR case to impose the interpretation of Rule 2014(a) he prefers, Alix

now has ratcheted up the intensity of his anticompetitive campaign against McKinsey by recasting

his statutory interpretation disagreements as a set of RICO claims. Specifically, McKinsey’s past

practice of disclosing its connections by descriptive category, and of disclosing certain

“connections” of its client service affiliates as well, has now been mischaracterized as a decades-

long series of racketeering acts. As explained below, this escalation is a misuse of process: the

Amended Complaint fails to state a cognizable claim of any sort, let alone a RICO violation.

                                                ARGUMENT

        To survive a Rule 12(b)(6) motion, a plaintiff must plead facts sufficient “to state a claim

for relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A

claim has facial plausibility “when the plaintiff pleads factual content that allows the court to draw




placed some funds. However, as McKinsey explained in its response, Whitebox was not on the Interested Parties list
that the debtors provided to RTS and that RTS used to check for connections. (See Ex. 24, ANR Doc. 4149.)

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the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). By contrast, a court must dismiss a pleading where the plaintiff has

failed to “nudge” a claim “across the line from conceivable to plausible.” Twombly, 550 U.S. at

570. The Supreme Court’s holdings and concerns in Twombly “are equally, if not moreso,

applicable to civil RICO claims,” because “[i]f Twombly means anything, it means that bald

assertions and conclusions of law will not suffice.” Nichols v. Mahoney, 608 F. Supp. 2d 526, 536

(S.D.N.Y. 2009). RICO pleadings, like others, “must create the possibility of a right to relief that

is more than speculative.” Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 183 (2d Cir.

2008).    Moreover, Alix’s allegations that sound in fraud—including the predicate acts of

bankruptcy fraud, mail fraud, wire fraud, and violations of the Travel Act—must be pleaded with

particularity, as mandated by Rule 9(b). First Capital Asset Mgmt. v. Satinwood, Inc., 385 F.3d

159, 179 (2d Cir. 2004). Rule 9(b) “concerns are even more immediate in civil RICO actions,

because such suits implicate the reputation interests of defendants accused of committing

racketeering offenses.” Zigman v. Giacobbe, 944 F. Supp. 147, 153 (E.D.N.Y. 1997); Schmid,

Inc. v. Zucker’s Gifts, Inc., 766 F. Supp. 118, 123 (S.D.N.Y. 1991) (same).

         While a court must accept well-pleaded allegations as true in considering a motion to

dismiss, it is “not bound to accept as true a legal conclusion couched as a factual allegation.”

Twombly, 550 U.S. at 555. As noted above, on a motion made pursuant to Rule 12(b)(6), this

Court may consider documents referenced in the Amended Complaint and those upon which a

plaintiff “relies heavily . . . thereby rendering the document ‘integral’ to the [Amended

C]omplaint.” DiFolco, 622 F.3d at 111 (internal quotation and citation omitted). The Court also

may take judicial notice of court filings. See, e.g., Nightingale Grp., LLC v. CW Capital Mgmt.,

LLC, No. 11-cv-9293 (PAE), 2012 WL 2674539, at *4 n.9 (S.D.N.Y. July 5, 2012).



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I.     ALIX FAILS TO PLEAD ANY RICO CLAIM (COUNTS 1-4).

       The RICO statute requires a plaintiff to plead “(1) a substantive RICO violation under

§ 1962; (2) injury to the plaintiff’s ‘business or property;’ and (3) that such injury was ‘by reason

of’ the substantive RICO violation.” Sergeants Benevolent Ass’n Health & Welfare Fund v.

Sanofi-Aventis U.S. LLP, 806 F.3d 71, 86 (2d Cir. 2015). A RICO plaintiff must plead facts that

support a plausible inference of both proximate and but-for causation. Holmes v. Secs. Inv’r Prot.

Corp., 503 U.S. 258, 268 (1992). To state a violation of Section 1962(c), a RICO plaintiff must

plead, among other things, that the defendant conducted or participated in the conduct of the affairs

of an enterprise through a pattern of racketeering activity.        18 U.S.C. § 1962(c); Cruz v.

FXDirectDealer, LLC, 720 F.3d 115, 120 (2d Cir. 2013). Each of these requirements must be

alleged as to each defendant. DeFalco v. Bernas, 244 F.3d 286, 306 (2d Cir. 2001). Because Alix

has not alleged any of the requisite elements of any RICO claim, Counts 1 through 4 should be

dismissed.

       A.       Alix Fails to Plead Proximate Causation.

       As the Supreme Court has made clear, a RICO plaintiff must allege that the defendant’s

violation “led directly to the plaintiff’s injuries.” Anza v. Ideal Steel Supply Corp., 547 U.S. 451,

461 (2006). This “proximate causation” requirement narrows the universe of actionable harms

under RICO, excluding “suits by parties who have been injured only indirectly.” Id. at 460. The

Amended Complaint continues to lack any well-pleaded allegation that any act or purported

omission of McKinsey US or RTS relating to its Rule 2014(a) disclosures directly injured

AlixPartners.

       Alix’s theory of harm remains unchanged from his original complaint: he claims lost

“profits” that AlixPartners “otherwise would have earned” had McKinsey “truthfully disclosed

[its] disqualifying conflicts of interest” and had the debtor retained AlixPartners instead of
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McKinsey US or RTS. (AC ¶ 5; see also id. at ¶¶ 381, 445, 534 (alleging, in conclusory fashion,

damages consisting of fees AlixPartners would have earned but for Defendants’ conduct and other

lost business opportunities).) Despite Alix’s newly-added conclusory allegation that his injuries

are not “derivative of any injury to any Interested Party,” (AC ¶¶ 385, 450, 538), it is plain from

his amended pleading (as it was from his original complaint), that the direct victims of McKinsey’s

alleged omissions, if any, would have been the entities that Rule 2014(a) was designed to protect—

such as debtors, creditors, and other Interested Parties in each of the thirteen chapter 11 cases.13

See, e.g., In re Enron Corp., No. 01-16034 (AJG), 2002 WL 32034346, at *5 (Bankr. S.D.N.Y.

May 23, 2002).

         Thus, even if Alix’s view of Rule 2014(a) were correct and McKinsey’s Rule 2014(a)

disclosures amounted to fraudulent omissions (which they do not (infra § I.C.1)), and even if he

had alleged adequately that those disclosures caused injury to AlixPartners through an actual lost

business opportunity (which he has not (infra § I.B)), Alix remains unable to allege that

McKinsey’s purported violation led directly to those injuries. The law is clear that “[a] RICO

plaintiff cannot circumvent the proximate-cause requirement simply by claiming”—as Alix has

here—“that the defendant’s aim was to increase market share at a competitor’s expense.” Anza,

547 U.S. at 460. Alix’s Amended Complaint does not cure this defect which, standing alone,

requires the Court to dismiss all of the RICO claims as to all Defendants.

         The Supreme Court’s decision in Anza compels this result. In Anza, Ideal Steel Supply

Corp. (“Ideal”) brought a RICO claim against the owners of its principal competitor, National Steel



13
  Moreover, these parties have a statutorily-mandated forum where they are directed to bring any claims relating to
McKinsey US and RTS’s Rule 2014(a) disclosures: in the district where the bankruptcy was brought or is pending.
See 28 U.S.C. § 1334(e)(2) (“The district court in which a case under title 11 is commenced or is pending shall have
exclusive jurisdiction . . . over all claims or causes of action that involve construction of section 327 of title 11, United
States Code, or rules relating to disclosure requirements under section 327.”).

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Supply, Inc. (“National”), contending that National systematically failed to collect sales tax on

cash sales, in violation of New York law. Ideal argued that by underpaying sales tax, National

could lower its prices while maintaining its profit margin, thereby depriving Ideal of market share

it otherwise would have obtained. Id. at 454. The Supreme Court affirmed the dismissal of the

RICO claim because it failed to allege a direct injury to Ideal: “[t]he direct victim of this conduct

was the State of New York, not Ideal. It was the State that was being defrauded and the State that

lost tax revenue as a result.” Id. at 458. The Court explained that although “Ideal asserts it suffered

its own harms when [its competitor] failed to charge customers for the applicable sales tax,” the

“cause of Ideal’s asserted harms . . . is a set of actions (offering lower prices) entirely distinct from

the alleged RICO violation (defrauding the State).” Id. The Court’s conclusion was “confirmed

by considering the directness requirement’s underlying premises”—the difficulty of ascertaining

the portion of damages attributable to the defendant’s conduct given the “attenuated connection”

between such alleged conduct and injury, and the fact that the more immediate victim (the State)

could itself vindicate the law. See id. at 458–60.

        As in Anza, AlixPartners was not the direct victim of McKinsey’s alleged conduct, and

“[t]he cause of [AlixPartners’s] alleged harms . . . is a set of actions”—i.e., not being selected as a

restructuring advisor by a debtor—that is “entirely distinct from the alleged RICO violations”—

i.e., supposedly defrauding the parties to the bankruptcy by filing misleading Rule 2014(a)

disclosures. Id. at 458; see also, e.g., Holmes, 503 U.S. at 272 (proximate causation not satisfied

in RICO suit alleging defendants’ stock manipulation caused broker-dealer bankruptcies and

thereby caused harm to broker-dealer customers); Hemi Grp. LLC v. City of N.Y., 559 U.S. 1, 14

(2010) (defendants’ failure to file required reports with state did not lead directly to city’s injuries);

cf. Bridge v. Phx. Bond & Indem. Co., 553 U.S. 639, 658 (2008) (defendants’ scheme to unlawfully



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submit multiple bids in tax auction directly injured losing bidders who otherwise would be

guaranteed to win at least some bids solely by participating in the auction and, thus, were “the only

parties injured” by the misrepresentations (emphasis in original)). Indeed, the fact that Alix had

to form Mar-Bow and purchase a creditor claim to litigate the propriety of RTS’s Rule 2014(a)

disclosures in ANR demonstrates that AlixPartners—the assignor plaintiff here—had not been

directly injured by McKinsey’s Rule 2014(a) disclosures in ANR or any of the other cases.

        Importantly, the purposes underlying the Supreme Court’s directness requirement are

promoted by rejecting Alix’s claims. Anza instructs that “[o]ne motivating principle [of the

directness requirement] is the difficulty that can arise when a court attempts to ascertain the

damages caused by some remote action.” 547 U.S. at 458; see also Holmes, 503 U.S. at 271-72

(“[T]he general tendency of the law, in regard to damages at least, is not to go beyond the first

step.”). The alleged connection between McKinsey’s conduct and AlixPartners’s harm is equally

“attenuated” as that alleged in Anza, if not more so. To credit Alix’s theory, this Court would have

to find, among other things, that the bankruptcy court would have decided to disqualify McKinsey

based on a conflict; that the debtor would have, in that event, sought AlixPartners’s services; and

that AlixPartners would have been qualified and disinterested.14 See Anza, 547 U.S. at 460

(proximate causation “is meant to prevent these types of intricate, uncertain inquiries from

overrunning RICO litigation”); Hemi Grp., 559 U.S. at 11 (the “disconnect” between injury and a

RICO violation is particularly attenuated when plaintiff’s theory of liability “rests not just on

separate actions, but separate actions carried out by separate parties” (emphasis in original)).



14
  Alix ignores these numerous intervening and separate actions—all of which Alix would have to prove to show any
harm from McKinsey’s alleged conduct—in simplistically alleging that AlixPartners’s purported “25% share in the
market for high-end bankruptcy consulting services” means it necessarily “would have obtained at least 25% of the
work on the bankruptcies that McKinsey US and/or McKinsey RTS obtained . . . absent [Defendants’] willfully
criminal conduct.” (E.g., AC ¶ 535.)

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         The “speculative nature” of the harm alleged, Anza, 547 U.S. at 459, is also apparent from

the fact that the business decisions of debtors not to hire AlixPartners could have occurred for a

host of reasons wholly unrelated to McKinsey’s disclosures, such as AlixPartners’s own failure to

compete for the business, conflicts or lack of experience that disqualified AlixPartners, or a

preference for the skills or expertise of McKinsey.15 See id. at 458 (plaintiff’s competitor “could

have lowered its prices for any number of reasons unconnected to the asserted pattern of fraud”);

see also id. at 458-59 (“Businesses lose and gain customers for many reasons, and it would require

a complex assessment to establish what portion of [plaintiff’s] lost sales were the product of

[defendant’s] decreased prices.”). The Supreme Court has stated that the proximate causation

requirement “has particular resonance when applied to claims brought by economic competitors”

because such claims of competitive harm, “if left unchecked, could blur the line between RICO

and the antitrust laws.” Id. at 460. That line is fully in play here.

         Anza further instructs that the “requirement of a direct causal connection is especially

important where the immediate victims of an alleged RICO violation can be expected to vindicate

the laws by pursuing their own claims.” Id. at 460. Here, the parties to the bankruptcy cases—the

debtor(s), creditors, and the U.S. Trustee—are fully capable of enforcing Rule 2014(a) and are

best situated to do so. Indeed, there is a specific statutory provision empowering these parties to

challenge the disclosures at issue. See 11 U.S.C. §§ 307, 1109(b) (permitting “any party in

interest,” including the U.S. Trustee and the “debtor, the [debtor’s] trustee, a creditors’ committee,

an equity security holders’ committee, a creditor, an equity security holder, or any indenture



15
  Tellingly, in many of the bankruptcies at issue in this case, the debtors had hired multiple restructuring advisors,
such that RTS would work alongside another competitor, such as Alvarez & Marsal. (Ex. 15, Harry & David Doc.
101 (Application to Employ/Retain Alvarez & Marsal North America, LLC as Interim Chief Executive Officer and
Chief Restructuring Officer).) This belies Alix’s contention that McKinsey US’s or RTS’s retention necessarily
precluded retention of AlixPartners.

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trustee” to appear in the bankruptcy court and be heard on any matter). Moreover, the bankruptcy

court, U.S. Trustee, and debtor are directed under the Bankruptcy Code to determine whether

bankruptcy advisors are disinterested.      See 11 U.S.C. §§ 326(d), 327(a).        A challenge to

McKinsey’s disclosures by the parties to the bankruptcy or the bankruptcy court would not involve

any of the causal gymnastics presented by Alix’s claims. As in Anza, Alix’s claim fails because

Alix is outside the ambit of those directly harmed: “[t]here is no need to broaden the universe of

actionable harms to permit RICO suits by parties who have been injured only indirectly.” Anza,

547 U.S. at 460.

       The Amended Complaint tries to inoculate its RICO claims against this doctrine by

asserting that “it was a foreseeable, natural, direct, and intended consequence of [Defendants’]

scheme that McKinsey US and McKinsey RTS would obtain more restructuring

assignments . . . and [AlixPartners] would receive fewer,” that “no independent factors” account

for AlixPartners’s injury, and that “[n]o immediate victim is better situated than Plaintiff to sue.”

(AC ¶ 450.) But a conclusory allegation of directness cannot alter the reality that the parties

directly injured by the alleged racketeering acts are the parties to the proceeding in which the

challenged disclosures were made. A conclusory allegation that Jay Alix is best suited to vindicate

the alleged violations of Rule 2014(a) cannot alter the reality that those parties, the U.S. Trustee,

and the bankruptcy court are obviously better suited to do so. (Id. at ¶¶ 385, 450, 538.) In short,

the Amended Complaint serves only to cement the conclusion that Alix has not—and cannot—

plead the proximate cause element of his claim.

       A second Supreme Court case, decided after Anza, further underscores that the remote

injury alleged by Alix does not satisfy the proximate cause requirement under RICO. In Hemi

Group, the City of New York sought to recoup lost tax collections that it traced to the alleged



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RICO violations of an out-of-state cigarette vendor. Under the City’s theory of injury, the out-of-

state vendor committed predicate acts by failing to disclose to New York State the identities of

New York State purchasers (as required by law), thereby preventing the State from reporting to

the City the names of purchasers that resided in the City and resulting in the City being unable to

collect taxes from those purchasers. Hemi Group, 559 U.S. at 6-7.

       The Supreme Court affirmed the trial court’s dismissal of the claims, finding that the City

did not show that its injury of lost tax revenue was caused “by reason of” the defendant’s unlawful

failure to report its sales of cigarettes to New York residents. Id. at 5. Citing the traditional

common law proximate causation principles as well as Holmes and Anza, the Supreme Court found

that the New York City purchasers’ failure to pay taxes was responsible for the City’s injury, not

the out-of-state vendor’s allegedly fraudulent failure to report sales. Noting that the City’s theory

“requires that we extend RICO liability to situations where the defendant’s fraud on the third party

(the State) has made it easier for a fourth party (the taxpayer) to cause harm to the plaintiff (the

City),” the Court declined to “stretch the causal chain of a RICO violation” in such an

unprecedented fashion. Id. at 11 (emphasis in original).

       Since the key rulings in Anza and Hemi Group, courts in this Circuit have followed the

proximate cause rulings of the Supreme Court under RICO and dismissed Section 1962(c) claims

premised upon proximate causation theories like those on which Alix’s allegations rely. For

example, in 4 K & D Corp. v. Concierge Auctions, LLC, 2 F. Supp. 3d 525 (S.D.N.Y. 2014), Grand

Estates, a real estate company, brought a RICO claim against a competitor, Concierge, claiming

that Concierge fraudulently misrepresented itself to potential customers and that, as a result, Grand

Estates lost business. Id. at 540-41. Dismissing the claim, the court found that Grand Estates had

“suffered only indirect injury that was derivative of the injury to the property sellers. Grand Estates



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was injured only because the property owners were allegedly deceived into using Concierge’s

auction services.” Id. at 541. Finding Anza “analogous” and applying its reasoning, the court

explained that the “defrauded seller is presumably capable of bringing suit on his or her own” and

that “there could be many reasons for which [the] property sellers did not choose Grand Estates,

and there was no guarantee that those who contracted with Concierge would otherwise have chosen

Grand Estates.” Id. at 541-42. The court reached this conclusion notwithstanding that “the number

of auction houses in the business of luxury estate auctions may not be large.”16 Id.

        Alix cannot distinguish these cases in any meaningful way, and the same result should

follow here. There is no direct injury to AlixPartners from McKinsey’s purportedly inadequate

Rule 2014(a) disclosures. This defect cannot be cured and, thus, Counts 1 through 4 should be

dismissed with prejudice.

        B.       Alix Fails to Plead Actual Causation.

        The Amended Complaint also fails to adequately plead actual—or “but-for”—causation,

an independent element of the RICO claims. First Nationwide Bank v. Gelt Funding Corp., 27

F.3d 763, 769 (2d Cir. 1994). Alix’s naked assertion that McKinsey’s disclosures were the “but-

for” cause of AlixPartners’s alleged injury fails to state a claim because some of the multitude of

intervening events that would have had to occur for the debtor to retain AlixPartners instead of

McKinsey in each respective bankruptcy case are not even alleged, while others could never be

proven. See Nurridin v. Bolden, 818 F.3d 751, 757 (D.C. Cir. 2016) (plaintiff “plead[ed] himself


16
   Another case in this Circuit decided after Holmes but before Anza is similarly on point. In Medgar Evers Houses
Tenants Association v. Medgar Evers Houses Associates, L.P., 25 F. Supp. 2d 116, 121 (E.D.N.Y. 1998), the court
rejected a RICO claim premised on allegedly false statements made in regulatory filings to the U.S. Department of
Housing and Urban Development (“HUD”) for lack of a direct injury. The court held that the plaintiffs, tenants who
complained that the defendants were operating a RICO enterprise by submitting false declarations to HUD, sustained
only “second level injuries,” noting that “the fact finder would be required to determine whether the complained of
conditions at the Medgar Evers Houses in fact resulted from the false statements to HUD, as opposed to, for example,
the defendants’ poor management of the housing project. . . . [T]he law need not shoulder these difficulties. HUD
itself can deter fraudulent statements to HUD.” Id. at 121-22.

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out of court by alleging facts that render success on the merits impossible”); see also Doe v.

Backpage.com, LLC, 817 F.3d 12, 24-25 (1st Cir. 2016) (plaintiff failed to plead causation where

the “causal chain is shot through with conjecture: it pyramids speculative inference upon

speculative inference” including as to “the effect . . . on on an indeterminate number of third

parties”). Among the myriad independent causes of AlixPartners’s alleged harms is its own failure

to bid for the work in question (which Alix implicitly has admitted by alleging that AlixPartners

actually competed in only one of the thirteen bankruptcy cases). (AC ¶ 383(a).) That gaping hole

in the causal chain between McKinsey’s alleged misconduct and the supposed injury to

AlixPartners cannot be plugged.      In addition, thirteen debtors would have had to choose

AlixPartners over other rivals and thirteen bankruptcy courts would have had to approve

AlixPartners as an advisor, which as Alix admits (AC ¶¶ 53-54) is not automatic, but subject to

statutory requirements and the discretion of the bankruptcy court.

       Indeed, before AlixPartners could have been retained in any of the bankruptcies at issue,

all the following would have had to occur:

           1. Had McKinsey disclosed its connections in all cases as Alix
              contends it should have, someone with standing (e.g., the U.S.
              Trustee, the debtor, or a creditor) would have objected (despite not
              objecting previously);
           2. McKinsey would not have been able to mitigate the concern raised
              by the objector, including through screens or other prophylactic
              procedures;
           3. Considering the disclosure and any available mitigation efforts, the
              bankruptcy court, in its discretion, would have disqualified
              McKinsey from the assignment;
           4. With McKinsey unavailable, the debtor would have chosen to hire a
              different advisor rather than complete the work itself;
           5. The debtor would have considered AlixPartners, and not one of its
              many other competitors, as its second choice for the consulting work
              for which McKinsey had been selected;
           6. AlixPartners would have been qualified for the assignment;

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           7. AlixPartners would not itself have been conflicted from taking the
              assignment;
           8. No Interested Party would have objected to AlixPartners’s
              disclosures, or any such objections would have been overruled; and
           9. The bankruptcy court, in its discretion, would have approved
              AlixPartners as the debtor’s advisor and approved its fee
              application.

AlixPartners’s implicit admission that it did not compete for twelve of the thirteen assignments at

issue is a decisive intervening cause of its alleged injury that requires dismissal. World Wrestling

Entm’t, Inc. v. Jakks Pac., Inc., 530 F. Supp. 2d 486, 523 (S.D.N.Y. 2007) (“Plaintiff does not

have a crystal ball or any plausible way to allege facts that would establish the outcome of the

bidding process.”).

       In addition, each step in the causal chain that would require this Court to speculate,

retrospectively, about how third parties (including bankruptcy courts) would have exercised

discretion precludes proof of but-for causation. In analogous circumstances relating to Article III

standing, the Supreme Court has ruled that the causal nexus between allegedly unlawful conduct

and plaintiffs’ injury that is essential to any theory of standing cannot be established where the

court would be “required to speculate” as to how independent decisionmakers would exercise their

judgment. Clapper v. Amnesty Int’l USA, 568 U.S. 398 (2013). Clapper involved a facial

constitutional challenge to the Foreign Intelligence Surveillance Act (“FISA”). The government

argued that plaintiffs lacked standing. The Supreme Court agreed, finding that the claim was

premised on a series of speculative fears about how the FISA court would decide requests for

surveillance authorization. At the core of the court’s reasoning was that too many speculative

steps, depending on determinations by third parties, were needed to establish causation:

               Even if respondents could show that the Government will seek the
               Foreign Intelligence Surveillance Court’s authorization to acquire
               the communications of respondents’ foreign contacts under § 1881a,
               respondents can only speculate as to whether that court will

                                                25
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                  authorize such surveillance. In the past we have been reluctant to
                  endorse standing theories that require guesswork as to how
                  independent decisionmakers will exercise their judgment.

568 U.S. at 413; see also Whitmore v. Arkansas, 495 U.S. 149, 159-60 (1990) (“It is just not

possible for a litigant to prove in advance that the judicial system will lead to any particular result

in his case.”).

         Alix attempts to gloss over these multiple, speculative steps in the causal chain by boldly

alleging that in nine of the thirteen bankruptcies at issue (GenOn, ANR, Standard Register, NII

Holdings, Edison Mission Energy, AMF Bowling, Lyondell, Mirant, and Hayes Lemmerz) certain

“specific circumstances . . . made AlixPartners’[s] chances of obtaining the assignments

effectively 100%.”17 (AC ¶¶ 383, 448.) With one exception, where Alix alleges that AlixPartners

had directly competed with RTS18 (see id. at ¶ 383(a) (GenOn)), these so-called special

circumstances fall into two categories: AlixPartners’s purported “extensive experience” in a

particular industry—e.g., coal (ANR), telecommunications (NII Holdings), energy (Edison

Mission), and bowling (AMF) (id. at ¶ 383(b), (d), (e), (f))—or its previous work for the debtor.19

(Id. at ¶¶ 383(c) (Standard Register), 448 (Lyondell, Mirant, Hayes Lemmerz).) Even if true, these

conclusory allegations overlook multiple other steps in the causal chain: not only that McKinsey



17
  In the remaining four bankruptcies—UAL, Harry & David, AMR, and SunEdison—Alix does not attempt to argue
any “specific circumstances” that would have resulted in AlixPartners’s retention, tacitly admitting that none exist.
18
  Alix concedes that in ANR, NII Holdings, and Edison Mission, AlixPartners was not invited to pitch for the business.
Alix blames this lack of interest not on any shortcoming of AlixPartners, or preference of the debtors, but, instead, on
a “pay to play” scheme (which he invents out of whole cloth). (AC ¶ 383(b), (d)-(e).)
19
   Alix also pleads in Count 7 that AlixPartners had an “expectancy that it would be retained by Alpha Natural
Resources and/or AMF Bowling Worldwide, Inc. to provide bankruptcy consulting services in connection with their
respective bankruptcy proceedings.” (Id. at ¶ 583.) This allegation is not only speculative and devoid of any support
in the Amended Complaint, it is also a tacit admission that AlixPartners had no such expectancy in any of the other
eleven bankruptcies, further undermining the Amended Complaint’s allegations of actual causation. What is more,
public filings show that Alix could not have been retained to advise the debtor in some of these bankruptcies as it
already was advising other Interested Parties in the case. (See, e.g., Ex. 17, Sun Edison Doc. 50 at 6 (stating that Sun
Edison’s non-debtor affiliates had “[r]etain[ed] Alix Partners, LLP (“AlixPartners”) . . . to assist the[m] with their
contingency planning for a SunEdison restructuring or bankruptcy”).)

                                                          26
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US’s and RTS’s allegedly undisclosed connections would have resulted in multiple bankruptcy

courts exercising their discretion to disqualify McKinsey, but also that the bankruptcy courts

would have concluded that AlixPartners was disinterested and qualified to serve the debtor after

addressing AlixPartners’s own “connections,” which are never addressed in the Amended

Complaint.

       As in Clapper and Whitmore, this Court should conclude that it is “just not possible” for

Alix to prove that AlixPartners would have been engaged by the debtor and approved by the

bankruptcy court, even if McKinsey had made disclosures in the way Alix insists it should have.

Alix fails to sufficiently allege that “but-for” McKinsey’s allegedly incomplete disclosures,

AlixPartners would have been retained and approved in each of the thirteen bankruptcies. All the

RICO claims against all Defendants should be dismissed for this independent reason.

       C.      Alix Fails to Plead Any RICO Predicate Acts Against the Corporate
               Defendants.

       This Court can and should dismiss all the RICO claims for lack of causation alone. But, in

addition to the fatal defects above, there are several other independent bases to dispose of Counts

1 through 4. First, Alix’s RICO claims—which are now predicated on a theory of omission—fail

for the fundamental reason that there is no legal duty to disclose information about “connections”

under Rule 2014(a) in the precise manner that Alix alleges. The plain language of Rule 2014(a)

does not require disclosure by name or disclosure of all of a professional’s affiliates’ connections,

nor do any of the cases cited by Alix in his Amended Complaint stand for the proposition that such

disclosure is mandatory in all cases. Because there can be no actionable omission without a clearly

defined duty, Alix cannot premise any predicate act on the Rule 2014(a) disclosures at issue here,

which in every case did disclose McKinsey US’s and RTS’s connections. Aaron Ferer & Sons

Ltd. v. Chase Manhattan Bank, Nat’l Ass’n, 731 F.2d 112, 123 (2d Cir. 1984) (“Before [an]


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omission can be labelled fraudulent, however, there must be a showing that a duty of disclosure

existed.”); Resnik v. Swartz, 303 F.3d 147, 154 (2d Cir. 2002) (dismissing allegations that

defendant made material misrepresentations where defendant had no duty to disclose the

purportedly omitted information). Second, Alix fails to plead scienter, which is a necessary

element of all fraud-based predicates. Third, Alix’s fraud-based predicate acts fail, not just for

lack of scienter, but for additional, independent reasons. Fourth, Alix also fails to state a claim

against the Corporate Defendants with respect to any of his non-fraud-based predicate acts.20

                    1.        Alix Fails to Plead the Duty to Disclose Required to State a Claim
                              Based on Fraudulent Omission.

           The gravamen of Alix’s Amended Complaint is that McKinsey US and RTS failed to

provide the court in each of the thirteen bankruptcy cases at issue with information that they were

legally required to provide by Bankruptcy Rule 2014(a). For this theory to amount to fraud, Alix

must plead not only that Rule 2014(a) imposed a duty to disclose on McKinsey, but that the scope

of that duty was clear under the law and that it was precisely as Alix alleges it to be. It is well

settled that fraud by omission presupposes a duty to speak, and where no such duty exists no claim

will lie.21 See, e.g., Resnik, 303 F.3d at 154; In re Express Scripts Holding Co. Secs. Litig., No.

16-cv-3338 (ER), 2017 WL 3278930, at *11 (S.D.N.Y. Aug. 1, 2017) (“With respect to material

omissions, a defendant’s silence is not misleading absent a duty to disclose.”); City of Roseville

Emps. Ret. Sys. v. Nokia Corp., No. 10-cv-00967 (GBD), 2011 WL 7158548, at *8 (S.D.N.Y. Sept.

6, 2011) (“An omission is actionable only if: (a) the omitted fact is material; and (b) the speaker

had a duty to disclose the omitted fact.”). Here, because Alix did not, and cannot, plead a statutory


20
     Because Alix fails to adequately plead any predicate act, he likewise fails to satisfy the RICO pattern requirement.
21
  In Resnik, for example, the Second Circuit upheld dismissal of a securities fraud suit alleging that a proxy statement
failed to disclose the grant-date value of stock options proposed to be awarded to non-employee directors because
there was no express statutory requirement to disclose that information and, in any case, the omission was not
materially misleading in the context of what was disclosed. 303 F.3d at 154.

                                                            28
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duty obligating McKinsey US and RTS to disclose all connections by name and for their affiliates,

his fraud claim fails. This is true as to each purported flaw with McKinsey US and RTS’s

disclosures.

       According to Alix, Rule 2014(a) requires bankruptcy professionals to disclose—by

name—“all relationships that are not considered de minimis,” including “all facts and relationships

that might potentially bear on their qualification for retention,” including those of all affiliates.

(AC ¶ 55 (emphasis in original).) But Rule 2014(a) does not require bankruptcy professionals to

disclose connections by name, let alone to undertake the type of unbounded and impractical probe

for possible connections—no matter how “irrelevant or trivial”—that Alix envisions. The plain

text of the Rule provides Alix no support; rather, it requires, in non-specific terms, that bankruptcy

professionals disclose

               to the best of the applicant’s knowledge, all of the person’s
               connections with the debtor, creditors, any other party in interest,
               their respective attorneys and accountants, the United States trustee,
               or any person employed in the office of the United States trustee.
               The application shall be accompanied by a verified statement of the
               person to be employed setting forth the person’s connections with
               the debtor, creditors, any other party in interest, their respective
               attorneys and accountants, the United States trustee, or any person
               employed in the office of the United States trustee.

Fed. R. Bankr. P. 2014(a). Apart from being “verified,” the Rule does not specify any particular

form or manner that the disclosures must take—such as by name.

       Nor does Rule 2014(a) require a professional to search for and disclose the connections of

its affiliates. The Rule on its face applies to “persons,” defined in the Bankruptcy Code to include

an “individual, partnership, and corporation,” see 11 U.S.C. § 101(41), and does not purport to

require disclosures relating to all “affiliates” irrespective of the separateness from the applicant

and whether the affiliate was serving the debtors. “Affiliates” is a separately defined term that the



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drafters of Rule 2014(a) could have included in the Rule if they wished.22 See 11 U.S.C. § 101(2)

(setting forth elaborate definition of “affiliate”). Again, Alix cites no case holding otherwise.23

        On the contrary, far from supporting the far-reaching and oppressive “duty” that Alix seeks

to impose on McKinsey, the case law recognizes that Rule 2014(a) is flexible:

                  [C]ourt[s] will weigh an applicant’s obligation to disclose
                 connections with other parties in interest in the case . . . against the
                 burden that this obligation will impose, on a case by case basis.
                 [Courts] will continue to rely on the U.S. Trustee and other parties
                 in interest to move for additional disclosure when those parties have
                 reason to believe that the additional level of disclosure is warranted
                 to ensure the disinterestedness of all professionals appointed in
                 bankruptcy cases.

In re Fibermark, No. 04-10463, 2006 WL 723495, at *10 (D. Vt. Mar. 11, 2006); see also In re

Enron, 2002 WL 32034346, at *5 (there is no requirement “to disclose every conceivable

interpretation of [ ] connections and possible consequence resulting from the connections . . .”).

As the Fibermark court recognized, “[i]f professionals seeking employment in bankruptcy cases

are required to disclose every connection, no matter how trivial or remote, the costs of such

disclosure could drive qualified professionals out of the bankruptcy practice,” id. at *9 (emphasis

added)—exactly what Alix is trying to do here.

        Each of the three types of omissions alleged by Alix are fatally deficient because of the

absence of a corresponding legal duty to disclose.




22
  The definitions of words and phrases contained in Section 101 of the Bankruptcy Code govern their use in the
Bankruptcy Rules, including Rule 2014(a). See Fed. R. Bankr. P. 9001.
23
   Alix’s submission of the “joint declaration” along with his Amended Complaint is unusual indeed. Separate and
apart from the obvious point that this Court need not consider an expert report to determine what the law is, Music
Sales Corp. v. Morris, 73 F. Supp. 2d 364, 381 (S.D.N.Y. 1999), this particular document is hardly an expert report.
Its authors are four advocates who have served and, in one case, is currently serving as counsel of record to Alix’s
alter ego Mar-Bow. The submission amounts essentially to a memorandum of law filed in support of an Amended
Complaint, and this Court should disregard it.

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         Alleged failure to disclose connections by name. Alix’s primary allegation is that

McKinsey did not identify connections by name. (See, e.g., AC ¶ 70 (“McKinsey US and

McKinsey RTS, however, disclosed no connections by name . . .”) (emphasis in original); see also

id. at ¶¶ 71, 73, 78, 82, 95, 123.) Yet, as explained above, Rule 2014(a) does not mandate

disclosure by name, and in each of the instances where McKinsey US or RTS disclosed by category

rather than by name, it did so because of its obligations to maintain client confidentiality.24 The

only citation offered in the Amended Complaint in support of the proposition that disclosure must

be by name is to the so-called “joint declaration” signed by Alix’s counsel. (Id. at ¶ 55.) And

even there, the only citation for the point is a decision in ANR rendered in 2016 (after ten of the

bankruptcy cases at issue), that was the first to find—in the context of that case—that disclosure

by category was lacking and that the affiliate connections RTS originally disclosed by category

must be disclosed by name in camera. (Id. at ¶ 196.) The practice of disclosing connections by

category is not one that McKinsey “invent[ed]” (id. at ¶ 55) and is in no way unique to McKinsey—

in fact, AlixPartners has itself refused to disclose the names of its own consulting clients in Rule

2014(a) disclosures, as have other bankruptcy professionals.25


24
  See, e.g., Ex. 12-A, SunEdison Doc. 202 ¶ 57 (“McKinsey RTS and its affiliates have a long-standing policy of
serving competing companies and do so in a manner that protects the confidentiality of each client’s information.”);
Ex. 6-A, AMR Doc. 581 ¶ 20 (same). Alix tries to marginalize this legitimate concern by arguing that “McKinsey’s
engagement agreements explicitly permit it to disclose client identities and other otherwise confidential information
concerning the engagement in order to comply with the law.” (AC ¶ 78.) But this falsely presupposes that a legal
requirement to disclose by name exists.
25
   See Ex. 26, In re Altegrity, Inc., No. 15-10226-LSS (Bankr. D. Del. filed Feb. 17, 2015) Doc. 89-3 (“There are five
confidential clients of AlixPartners that are vendors and landlords to the Debtors as well as professionals in interest in
the bankruptcy matter.”); Ex. 28, In re Basic Energy Servs., Inc., No. 16-12320-KJC (Bankr. D. Del. filed Oct. 28,
2016) Doc. 93-4 ¶ 26 (“AlixPartners has two confidential clients that are utility providers to the Debtors and
professionals in interest in this bankruptcy matter.”); see also Ex. 31, In re Cumulus Media, No. 17-13381 (SCC)
(Bankr. S.D.N.Y. filed Jan. 11, 2018) Doc. 203 Schedule 2 (Moelis & Co. identifying assignments for Potential Parties
in Interest as “confidential,” broken down by category); Ex. 29, In re Azure Midstream Partners, No. 17-30461 (DRJ)
(Bankr. S.D. Tex. filed Feb. 23, 2017) Doc. 120 Schedule 2 (Evercore disclosing nine confidential Parties in Interest
by category in an application); Ex. 27, In re Atlas Resource Partners, No. 16-12149 (SHL) (Bankr. S.D.N.Y. filed
Aug. 12, 2016) Doc. 83 Ex. B ¶ 16(i) (Perella Weinberg stating in their application that they are “unable to disclose
the identities of Clients who may be Parties in Interest, or have connections to the Debtors, due to confidentiality
obligations to such Clients.”).

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       Alleged failure to disclose connections of affiliates. Alix focuses on MIO, an affiliate of

McKinsey that invests the pension and personal funds of current and former McKinsey & Co.

employees. (AC ¶¶ 113, 116.) Again, Alix cites no law compelling disclosure of all connections

of all affiliates, particularly those not performing work for the debtors and separated from

McKinsey US or RTS, and indeed the plain text of Rule 2014(a) suggests that no such disclosure

is mandated. In each of the thirteen bankruptcies at issue in this case, the “person” being retained

as the bankruptcy professional was either McKinsey US or RTS—not MIO. As such, the relevant

connections are those of McKinsey US or RTS—all of which were disclosed (not in the precise

form upon which Alix insists, but unquestionably disclosed nonetheless).

       Alleged failure to explain discrepancies between cases. Alix’s third area of focus is on

the fact that a McKinsey connection is sometimes disclosed in one bankruptcy case but not another,

which he cites as evidence of widespread fraudulent omissions by McKinsey. (AC ¶¶ 150, 152,

169, 216.) But no such inference can be drawn. McKinsey US’s and RTS’s disclosures, which

because they are referenced in the Amended Complaint may be considered here, make plain that

they differ from engagement to engagement because the members of the client service team serving

a debtor change from bankruptcy to bankruptcy; therefore, a connection that appears because of a

client service team member in one case may not appear in another case where that person was not

involved. (See Ex. 10, Standard Register Doc. 87-3, ¶¶ 10 n.3, 21-22 (noting that the employees

working on the bankruptcy (the “Retained Staff”) may change and noting connections of “Retained

Staff” to Interested Parties); Ex. 11-A, ANR Doc. 212, ¶ 2 (defining the McKinsey RTS Team as

“McKinsey RTS along with certain consultants borrowed from affiliates”) (emphasis added).)

The fact that RTS assembles teams of individuals borrowed from other McKinsey affiliates who

have particular expertise should not be controversial, and the fact that RTS has serviced debtors in



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a variety of industries will mean that different individuals will comprise the client service team in

each case. The connections also differ between bankruptcies for more obvious reasons, such as

McKinsey’s clients changing over time.26

           In any case, McKinsey was fully transparent about what it was and was not disclosing.

(See, e.g., Ex. 7, AMF Doc. 125 ¶ 23(a) (“McKinsey RTS made inquiry to all partners at its client

service affiliates worldwide. . . .”); Ex. 8-A, Edison Mission Doc. 175-3 ¶ 20(a) (same).) When

the composition of its teams changed, or when additional connections were discovered, McKinsey

US and RTS supplemented their disclosures. (E.g., Ex. 11-D, ANR Doc. 2464 ¶ 22 (“The Second

Supplemental Declaration updated McKinsey RTS’s disclosures to reflect the addition of new

individuals . . .”); Ex. 12-E, SunEdison Doc. 2614 ¶ 5 (“McKinsey RTS reviewed the additional

parties added to the Interested Parties List . . . against its records . . .”).) And, as is appropriate,

McKinsey included extensive disclosures stating that it and its affiliates may have in the past

represented, may currently represent, or may in the future represent Interested Parties.27 See In re

Leslie Fay Cos., Inc., 175 B.R. 525, 537 (Bankr. S.D.N.Y. 1994). Given this, and the absence of

the duty Alix claims exists, the fraud by omission theory underlying his RICO claims is not viable.

                    2.      Alix Fails to Allege Scienter Properly.

           Even if Alix could identify a duty that McKinsey US or RTS purportedly violated when it

filed its Rule 2014(a) disclosures, he has not alleged scienter—a requisite element of all his fraud-

based claims—with the particularity demanded by Federal Rule of Civil Procedure 9(b).


26
   Alix also contends that RTS’s filing of supplemental disclosures was part of its bankruptcy fraud scheme. (AC
¶ 343, 346.) Yet, Alix surely would complain if RTS did not continue during the course of bankruptcy cases to monitor
and update its disclosures. It also is no surprise that RTS’s Rule 2014(a) disclosures needed to be supplemented over
the course of the bankruptcy case as RTS’s and the debtors’ circumstances changed. Like other professionals,
AlixPartners also files supplemental disclosures in cases where it has been retained. See, e.g., Ex. 30, In re Pac.
Drillings S.A., No. 17-13193 (Bankr. S.D.N.Y. 2017) Doc. 58; Ex. 25, In re TMT Procurement Corp., No. 13-33764
(Bankr. S.D. Tex. 2013) Doc. 622.
27
     See, e.g., Ex. 10, Standard Register Doc. 87; Ex. 9-A, NII Holdings Doc. 153; Ex. 13-A, GenOn, Doc. 123.

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       Second Circuit law is clear that a plaintiff alleging fraud, like Alix, must plead facts giving

rise to a “strong inference of fraudulent intent.” First Capital Asset Mgmt., 385 F.3d at 179; Mills

v. Polar Molecular Corp., 12 F.3d 1170, 1176 (2d Cir. 1993) (same); see also PetEdge, Inc. v.

Garg, No. 15-cv-9606 (GHW), 2017 WL 564088, at *12 (S.D.N.Y. Feb. 10, 2017) (dismissing

fraud claim where pleading did not give rise to “a strong inference of fraudulent intent”). To

survive a motion to dismiss, a plaintiff’s allegations of fraudulent intent must either “allege a

motive for committing fraud and a clear opportunity for doing so” or “identify[] circumstances

indicating conscious behavior by the defendant, though the strength of the circumstantial

allegations must be correspondingly higher.”          Vaughn v. Air Line Pilots Ass’n, Int’l, No.

08-4173-cv, 2010 WL 3582661, at *2 (2d Cir. May 14, 2010) (Summary Order); Bigsby v.

Barclays Capital Real Estate, Inc., 170 F. Supp. 3d 568, 578 (S.D.N.Y. 2016). The Amended

Complaint fails to allege scienter properly under this standard for multiple reasons.

       First, and foremost, because the dispute between Alix and McKinsey boils down to a

difference of opinion over statutory interpretation in which the Defendants’ interpretation of Rule

2014(a) was reasonable, Alix cannot plead that Defendants acted with fraudulent intent. See U.S.

ex rel. Miller v. Weston Educ., Inc., 840 F.3d 494, 500 (8th Cir. 2016) (“A defendant’s reasonable

interpretation of any ambiguity inherent in the regulations belies the scienter necessary to establish

a claim of fraud.”); U.S. ex rel. Purcell v. MWI Corp., 807 F.3d 281, 287-88 (D.C. Cir. 2017)

(fraud “does not reach an innocent, good-faith mistake about the meaning of an applicable rule or

regulation” or claims “based on reasonable but erroneous interpretations of a defendant’s legal

obligations”); Methodist Hosp. of S. Cal. v. Blue Cross of Cal., No. CV 09-05612, 2010 WL

11508022, at *12 (C.D. Cal. Feb. 26, 2010) (“[T]o the extent [the case] can be viewed as a dispute

over the parties’ respective rights, duties and obligations under governing statutes and regulations,



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it would not appear to provide any basis for asserting a claim of fraud.”); Dalton v. Lee Publ’ns,

Inc., No. 08-cv-1072, 2011 WL 1045107, at *5 (S.D. Cal. Mar. 22, 2011) (a “good faith dispute

as to [a statute’s meaning] precludes a finding that defendant acted with the requisite scienter of

knowing and intentional”). As courts have recognized, “Congress did not intend to turn garden

variety disputes over statutory interpretation into criminal acts sufficient to justify a RICO claim.”

Grauberger v. St. Francis Hosp., 169 F. Supp. 2d 1172, 1177 (N.D. Cal. 2001).28

           Here, no one challenged the good faith of McKinsey US or RTS’s disclosures prior to ANR,

and after the court in ANR required RTS to supplement its disclosures by revealing names of client

connections, RTS altered its going-forward practice and made disclosures by name in SunEdison

and GenOn.29 This modification highlights McKinsey’s efforts to comply with Rule 2014(a), not

to thwart it.

           Second, the Amended Complaint fails to adequately plead the motive necessary to show

the requisite “strong inference of fraudulent intent.”                Alix contends that Defendants were

motivated by a desire to earn fees through bankruptcy engagements. (AC ¶¶ 4, 242, 312 (alleging

that McKinsey earned “millions of dollars in fees”).) But the goal of earning fees for business

engagements that would flow to a corporation is “wholly inadequate to create any inference of [ ]

fraudulent intent, let alone a strong inference.” Vaughn v. Air Line Pilots Ass’n, Int’l, 395 B.R.

520, 548-49 (Bankr. E.D.N.Y. 2008) (dismissing RICO claim for failure to establish fraudulent



28
   By contrast, Alix’s efforts to allege wrongful knowledge on the part of Defendants miss the mark. Alix’s scienter
allegations fall into one of two buckets: either a Defendant (1) knew McKinsey US’s and RTS’s disclosures
purportedly were deficient because Alix told them so (AC ¶¶ 315-16); or (2) should have known that the disclosures
were deficient because of circumstantial factors—e.g., legal training, access to sophisticated counsel, or former
employment at AlixPartners. (E.g., id. at ¶¶ 311-14.) These non-particularized, conclusory allegations fall far short
of “strong inference” of actual knowledge on the part of any Defendant that McKinsey US or RTS’s disclosures
violated Rule 2014(a). Indeed, Alix’s allegations are equally likely to reflect a disagreement between Alix and
McKinsey regarding the requirements under Rule 2014(a).
29
     Ex. 12-A, SunEdison Doc. 202 Ex. B ¶¶ 27-54; Ex. 13-A, GenOn Doc. 123-2 ¶¶ 31-57.

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intent for predicate acts where sole allegation was that defendants would earn “substantial fees”);

ABF Capital Mgmt. v. Askin Capital Mgmt., L.P., 957 F. Supp. 1308, 1326-27 (S.D.N.Y. 1997)

(dismissing fraud claim alleging that a “fee structure allegedly gave [defendant] a motive to [make]

misrepresent[ations]” because “allegations that a defendant stands to gain economically from fraud

do not satisfy the heightened pleading requirements of Rule 9(b)”).

        Third, the content of McKinsey US’s and RTS’s disclosure declarations defeat any

inference that any Defendant intended to defraud anyone. Rather, each of the McKinsey US and

RTS disclosures is transparent about how connections to Interested Parties were identified. For

example, the Rule 2014(a) disclosures pre-dating the ANR decision that changed RTS policy made

clear where McKinsey US and RTS were disclosing by category and not by name. (Ex. 11-A,

ANR Doc. 212 Ex. B ¶¶ 21, 23.) McKinsey US and RTS consistently have disclosed that only

client service affiliate connections were being disclosed, (id. at ¶ 23), and further have made

explicit that McKinsey advises Interested Parties in matters unrelated to the bankruptcy. (See, e.g.,

id. at ¶ 29.) The disclosures also make clear that the concern motivating the form of McKinsey

US’s and RTS’s disclosures was client confidentiality: “Because of its responsibility to maintain

strict client confidentiality, McKinsey US cannot disclose the services performed, or even in some

instances the fact that services were provided for clients.” (Ex. 4-A, Lyondell Doc. No. 2090 ¶ 17.)

And the disclosures state that “McKinsey RTS and its affiliates serve clients across a broad range

of industries, functions, and geographies, and, within industries, serve competitors and do so in a

manner that protects the confidentiality of each client’s information (including the confidentiality

of the engagement itself). (Ex. 11-A, ANR, Doc. 212 ¶ 21.)30 McKinsey US’s and RTS’s express,



30
  See also Ex. 13-A, GenOn Doc. 123-2; Ex. 10, Standard Register Doc. 87; Ex. 9-A, NII Holdings Doc. 153; Ex.
8-A, Edison Mission Doc. 175; Ex. 7, AMF Doc. 125; Ex. 5-A, Harry & David Doc. 105; Ex. 6-A, AMR Doc. 581;
Ex. 3, Mirant Doc. 1457; Ex. 12-A, SunEdison Doc. 202.

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detailed descriptions of precisely what was and was not being disclosed defeat any inference that

they intended to mislead through omissions.

        Fourth, Alix’s conclusory allegations of intent to defraud are implausible in light of

admitted and public facts that each of the thirteen bankruptcies concerned estates valued in excess

of $1 billion (AC ¶ 1) and consequently involved scores of seasoned participants in chapter 11

cases represented by sophisticated counsel.31 McKinsey US and RTS knew that their detailed Rule

2014(a) disclosures would be scrutinized by experienced bankruptcy counsel, in addition to the

U.S. Trustee and the bankruptcy courts.

        Finally, Alix fails to satisfy the pleading requirements for scienter through his collective

allegations regarding the formation of RTS or other acts purportedly taken by “McKinsey” or an

indiscriminate grouping of individuals to obscure connections to Interested Parties. Rule 9(b)’s

requirement of particularity is not satisfied by conclusory allegations that “McKinsey has

purposefully maintained a substandard system for identifying conflicts” and that McKinsey formed

RTS “for the express purpose of skirting the Bankruptcy Code’s disclosure rules.” (AC ¶¶ 63,

522(b).) See Shields v. Citytrust Bancorp, 25 F.3d 1124, 1128 (2d Cir. 1994) (Rule 9(b) protects

reputations “from improvident charges of wrongdoing”); Sanchez, 2015 WL 3540836, *13; DLJ

Mortg. Capital v. Kontogiannis, 594 F. Supp. 2d 308, 326 (E.D.N.Y. 2009). Alix fails to plead

facts that are plausible to suggest that any Defendant purposely designed a deficient conflict

system as part of an elaborate fraud to win business from a competitor, let alone facts that give rise

to a strong inference of scienter.




31
   The debtors in these cases were represented by some of the most highly-skilled bankruptcy counsel available,
including Skadden (Hayes Lemmerz and SunEdison), Kirkland & Ellis (United, Edison Mission, and GenOn), White
& Case (Mirant), Jones Day (Harry & David, NII Holdings, and ANR), Gibson Dunn (Standard Register), and Weil
Gotshal (American).

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                  3.       Alix’s Fraud-Based Predicate Acts Fail for Additional Reasons.

                           a.       Alix Fails to Plead Mail Fraud or Wire Fraud.

         The Amended Complaint fails to cure the fundamental, glaring defect in Alix’s mail and

wire fraud predicates: the inability to plead that Defendants sought to deprive Alix of “[money or]

property in the victim’s [AlixPartners’s] hands.”32 Pasquantino v. United States, 544 U.S. 349,

355 (2005). The Amended Complaint does not and cannot allege that AlixPartners had any actual,

protected property interest that McKinsey sought to misappropriate, and just as Alix cannot plead

a direct injury that AlixPartners actually suffered, he similarly fails to plead that McKinsey’s

disclosures injured AlixPartners by depriving it of property it had held. The Amended Complaint

alleges only that McKinsey’s Rule 2014(a) disclosures somehow deprived AlixPartners of the

ability to bid on (and secure) the bankruptcy assignments in question. (AC ¶¶ 381, 445, 534.) A

competitor’s “interest in a fair bidding opportunity,” however, is “not a property right.” United

States v. Henry, 29 F.3d 112, 115 (3d Cir. 1994) (finding that the right to a fair bidding process is

not a type of property that “the law traditionally has recognized and enforced . . . as a property

right.” (citing United States v. Evans, 844 F.2d 36, 41 (2d Cir. 1988))); see also United States v.

Pierce, 224 F.3d 158, 165 (2d Cir. 2000) (“A scheme to deceive, however dishonest the methods

employed, is not a scheme to defraud in the absence of a property right for the scheme to interfere

with.”). Accordingly, for this additional reason, Alix’s mail and wire fraud predicates fail.




32
  “The elements of wire fraud under 18 U.S.C. § 1343 are (i) a scheme to defraud, (ii) to get money or property, (iii)
furthered by the use of interstate wires.” Tymoshenko v. Firtash, 57 F. Supp. 3d 311, 321 (S.D.N.Y. 2014) (quoting
United States v. Pierce, 224 F.3d 158, 165 (2d Cir. 2000)). “The elements of mail fraud under 18 U.S.C. § 1341 are
identical, except that mail fraud must be furthered by use of the mails.” Tymoshenko, 57 F. Supp. 3d at 321 (citing
United States v. Vilar, 729 F.3d 62, 91 n.26 (2d Cir. 2013)).

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                            b.      Alix Fails to Plead Bankruptcy Fraud or Bribery.

           Alix’s bankruptcy fraud predicate acts—which allege violations of 18 U.S.C. §§ 152(2)

and 152(3)—fare no better.33 Subsections 152(2) and 152(3) both require that Alix plead (1) that

each Defendant submitted a materially false statement to the bankruptcy court and (2) did so

knowingly, with fraudulent intent. See United States v. Sabbeth, 125 F. Supp. 2d 33, 43 (E.D.N.Y.

2000); United States v. Markiewicz, No. 96-cv-122 (RSP), 1996 WL 663894, at *2 (N.D.N.Y.

Nov. 6, 1996). Among other things, Alix fails to allege with particularity that any Defendant

intentionally submitted a materially false or incomplete statement to a court. (Supra § I.B.)

           Nor has Alix alleged a violation of 18 U.S.C. § 152(6), which prohibits “knowingly and

fraudulently” giving, offering, or receiving money or other remuneration for acting or forbearing

to act in a case under title 11. Alix levels this accusation collectively against all Defendants based

on the novel theory that McKinsey’s offer to introduce bankruptcy attorneys to consulting clients

if those attorneys would help McKinsey’s efforts to be retained by the attorneys’ debtor clients in

chapter 11 cases constituted a “pay to play” scheme in violation of Section 152(6) and state bribery

laws. (AC ¶¶ 359-65, 506-12.) As the Department of Justice’s United States Attorney’s Criminal

Resource Manual makes clear, Section 152(6) is the “extortion and bribery” provision of the

statute. U.S. Dep’t of Justice, Criminal Resource Manual (2018) § 855.34 “For example,” the

manual instructs, “a bidder agreeing to withdraw the bid in return for money is covered” by the

section. Id. (citing United States v. Weiss, 168 F. Supp. 728 (W.D. Pa. 1958)). Even taken as true,



33
  Courts in this Circuit interpret the term “bankruptcy fraud” as the manifestation of a defendant’s intent to frustrate
or “defeat the provisions of the bankruptcy code,” First Capital Asset Mgmt., 385 F.3d 179, and are particularly wary
of RICO claims premised on bankruptcy fraud, routinely dismissing them at the pleadings stage. E.g., id.; Ferri v.
Berkowitz, 678 F. Supp. 2d 66 (E.D.N.Y. 2009); Ritter v. Klisivitch, No. 06-cv-5511 (DRH), 2008 WL 2967627
(E.D.N.Y. July 30, 2008); Baron v. Rabinovici, No. 05-cv-110 (TCP), 2006 WL 1318426 (E.D.N.Y. May 12, 2006);
Burke v. Dowling, 944 F. Supp. 1036 (E.D.N.Y. 1995).
34
     Available at www.justice.gov/jm/criminal-resource-manual-855-extortion-and-bribery-18-usc-1526.

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a company offering to introduce a lawyer to the company’s clients in exchange for the lawyer

putting in a good word for the company with the lawyer’s client—no matter what catchphrase Alix

wants to give that activity—does not plausibly constitute extortion or bribery. Moreover, the

allegations fail because they provide no specifics of any alleged “bribes”: Alix does not plead the

terms, the Defendants involved, the lawyers, the clients, or how or when any supposed quid pro

quo occurred. See Zigman, 944 F. Supp. at 156 (rejecting bribery predicate act where complaint

lacked “one single factual allegation of a specific bribe paid”); Roberto’s Fruit Mkt., Inc. v.

Schaffer, 13 F. Supp. 2d 390, 399-400 (E.D.N.Y. 1998) (rejecting bribery claims). In short, these

baseless and conclusory allegations fail to convert everyday professional conduct into an illicit

bribery scheme.

                       c.      Alix Fails to Plead Inducement to Violate 18 U.S.C. § 2314.

       Alix’s Travel Act predicate is the entire case in microcosm. It alleges that Alix traveled to

New York on October 15, 2015, to once again lecture Dominic Barton about McKinsey’s

disclosure practices. But instead of “pursuing corrective action in light of Alix’s admonishments,”

Barton offered to introduce AlixPartners to two McKinsey clients in need of consulting services.

(AC ¶¶ 367-68.) Thus, the allegation continues, Barton must have induced Alix to attend the

meeting to string him along and thereby “forestall legal action,” making the travel itself an integral

part of McKinsey’s “scheme to unlawfully compete” by disclosing connections to Interested

Parties by name rather than by category.

       Alix has stated no Travel Act claim. Indeed, it is more plausible that Barton simply

disagreed with Alix. Like the rest of the Amended Complaint, this predicate simply conveys Alix’s

apparent belief that every act of McKinsey that did not comport with his preferences must be a

RICO violation. In any event, Alix must allege with particularity “(1) that the defendant devised

a scheme intending to defraud a victim of money or property of a minimum value of $5,000, and
                                                 40
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(2) that as a result of this scheme, a victim was induced to travel.” United States v. Myerson, 18

F.3d 153, 164 (2d Cir. 1994); Thai Airways Int’l v. United Aviation Leasing B.V., 891 F. Supp.

113, 118 (S.D.N.Y. 1994). Alix admits that he requested the meeting with Barton in order “to

discuss remediation of McKinsey’s continued unlawful bankruptcy consulting engagements.”

(AC ¶ 367.) This allegation alone is fatal, because the defendant must have been “the efficient

cause” and “a motivating force in the victim’s transportation.” Myerson, 18 F.3d at 164. Having

requested the meeting, Alix was not “induced” to travel and his Travel Act claim fails.

               4.     Alix Also Fails to Plead Any Non-Fraud-Based Predicate Acts.

                      a.      Alix Fails to Plead Obstruction of Justice or Witness
                              Tampering.

       Alix contends that Defendants violated three separate obstruction of justice provisions—

18 U.S.C. §§ 1503(a), 1512(b), and 1512(c). In his original Complaint, Alix premised this

predicate act on a single absurd allegation: that RTS fraudulently induced the U.S. Trustee in the

ANR case to withdraw its motion to compel a sworn supplemental disclosure by providing the very

information requested by the U.S. Trustee. (Complaint (Dkt. #1) ¶ 302.) He now additionally

alleges that each Rule 2014(a) disclosure constituted an obstruction of justice. (AC ¶¶ 3, 299(d),

331-58.)

       Section 1512(b), concerning witness tampering, is clearly inapplicable here. That section

makes it illegal to “use intimidation, to threaten or corruptly persuade another person, or engage

in misleading conduct toward another person, with intent to influence, delay or prevent the

testimony of any person in an official proceeding.” Rambarran v. Mount Sinai Hosp., No. 06-cv-

5109 (DF), 2008 WL 850478, at *7 (S.D.N.Y. Mar. 28, 2008). To show “corrupt persuasion,” the

plaintiff must show that the conduct was “motivated by an improper purpose.” Id. Alix comes




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nowhere close to alleging any of these things; there is no allegation that any Defendant interfered

with anyone’s testimony, let alone did so with a corrupt purpose.35

         Nor has he pleaded a violation of Sections 1503(a) or 1512(c).36 Because, as explained

above, there is no duty to disclose under Rule 2014(a) in the manner Alix posits, there likewise

can be no obstruction of justice arising from those same disclosures. See In re eToys, Inc., 331

B.R. 176, 202 (Bankr. D. Del. 2005) (allegedly deficient Rule 2014(a) filings did not constitute

obstruction where “no rule existed at [the] time requiring an officer of the debtor to disclose any

relationship in a case. Therefore, the failure to disclose cannot be considered perjury or any other

bankruptcy crime.”). Indeed, courts recognize that even a false bankruptcy filing does not per se

constitute an obstruction of justice. United States v. Rodriguez, No. 00-cr-91-01 (RWS), 2002 WL

31426311, at *11, *15 (S.D.N.Y. Oct. 23, 2002) (even where defendant “committed perjury in

connection with [a] bankruptcy filing . . . [t]here [was] no information to suggest that the defendant

impeded or obstructed justice . . .”).

                           b.       Alix Fails to Plead Money Laundering.

         Alix also has not pleaded a money laundering violation. As explained above, Alix has not

pleaded that McKinsey obtained any money unlawfully, and therefore he cannot satisfy the core


35
   Alix fails to allege any actual interaction between any Defendant (including Kevin Carmody, who signed the
disclosure) and the U.S. Trustee, let alone that anyone acted with a nefarious purpose in any such interaction. The
best Alix can do is allege, without any explanation or support, that the supplemental disclosure McKinsey submitted
continued to omit connections to Interested Parties. (AC ¶¶ 162-64, 166.) The Amended Complaint fails to attach
the McKinsey disclosure in question, which explains, in precise language, what it is and is not disclosing and why.
(Ex. 11-D, ANR Doc. 2464; Ex. 11-E, ANR Doc. 3223.) This is the same kind of dispute over form that, as discussed
above, cannot state a fraud. (Supra § I.C.1.)
36
  Section 1503(a) applies where a defendant is alleged to have, or endeavored to have “corruptly . . . influenced [or]
obstructed the due administration of justice” by “acting with wrongful intent or improper purpose to influence [a]
judicial or grand jury proceeding.” Grewal v. Cuneo, No. 13-cv-6836 (RA), 2015 WL 4103660, at *18 (S.D.N.Y.
July 7, 2015) (a plaintiff failed to plead a violation of § 1503(a) where defendants were alleged to “falsely represent”
to courts that they were partners when they were not). Likewise, Section 1512(c) prohibits “corruptly” tampering
with a document or object with the intent to prevent its use in an official proceeding, or otherwise obstruct or impede
an official proceeding. United States v. Reich, 479 F.3d 179, 186 (2d Cir. 2007) (the relevant language of Section
1512(c) “is substantially similar to the . . . language of Section 1503(a)”).

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requirement of a money laundering claim. See Tymoshenko, 57 F. Supp. 3d at 322 (setting out

elements, including that “the transaction in fact involved the proceeds of specified unlawful

activity as defined in § 1956(c)(7)”); United States v. Gotti, 459 F.3d 296, 334 (2d Cir. 2006)

(same). Moreover, Alix has not satisfied the intent requirement: the “transactions” Alix alleges

constitute money laundering were ordinary-course transfers of fees between McKinsey entities

earned for legitimate work.37 There is no suggestion that the purpose of these transactions was to

disguise or conceal the source of the funds—indeed, the fees earned by McKinsey for its work

were all approved by the bankruptcy courts after the public filing of fee applications and a full

opportunity for any party with standing to object. There is no plausible basis to infer that

McKinsey’s internal handling of money obtained as compensation for its professional services

constituted anything other than the ordinary course of business.

         D.       Alix Fails to Plead Any Racketeering Acts by Any Individual Defendant.

         All of the arguments advanced above, including those in Section I.C as to Alix’s failure to

allege racketeering acts against the Corporate Defendants, apply with equal force to the Individual

Defendants and mandate their dismissal. Beyond those fatal deficiencies, Alix also fails to plead

non-conclusory facts showing that any Individual Defendant actually committed a predicate act,

including facts that show the “individual roles” played by each individual in the alleged scheme.

See DiVittorio v. Equidyne Extractive Indus., Inc., 822 F.2d 1242, 1247 (2d Cir. 1987).




37
  The only other allegations Alix ties to purported money laundering are those involving purported “re-invoiced” and
“round trip” payments in connection with the SunEdison bankruptcy. (AC ¶ 371.) But the Amended Complaint is
bereft of facts explaining why the work that McKinsey did was not legitimate or why SunEdison affiliates should not
have been billed for the work McKinsey performed. The pleading actually negates the intent requirement by
affirmatively stating the reason the invoices were re-issued: because the services were originally billed to the wrong
entity. (Id. at ¶¶ 23(a), 231)

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                  1.       There is No Claim for Aiding and Abetting a RICO Violation.

         Defendants’ first motion to dismiss demonstrated that the original complaint failed to plead

fraud with particularity because it failed to allege facts showing that the Individual Defendants

knowingly committed the charged RICO offenses.                       Rather than plead additional facts, the

Amended Complaint instead alleges more than 150 times that the individuals “aided and abetted”

each other’s and McKinsey’s RICO violations. Indeed, for two Individual Defendants—Barton

and Garcia—the Amended Complaint alleges only that they “aided and abetted acts of bankruptcy

fraud,” not that they actually committed any such fraud themselves.38 (See AC ¶ 311.)

         It is well-settled, however, that there is no aiding and abetting liability under RICO. In

Central Bank of Denver v. First Interstate Bank, the Supreme Court held that a private plaintiff

may not maintain a suit for aiding and abetting under § 10(b) of the Securities Exchange Act of

1934. 511 U.S. 164 (1994). It reasoned that the Act does not reference aiding and abetting and

declined “to extend liability beyond the scope of conduct prohibited by the statutory text.” It then

further noted that “Congress knew how to impose aiding and abetting liability when it chose to do

so,” and that imposing some form of secondary liability under the securities laws but not others

indicates a “congressional choice with which the courts should not interfere.” Id. at 176.

         Applying Central Bank’s reasoning to civil RICO,39 “[c]ourts in this district have routinely

held that ‘aiding and abetting’ a RICO enterprise is not a valid cause of action.” Spinale v. United

States, No. 03-cv-1704, 2004 WL 50873, at *6 (S.D.N.Y. Jan. 9, 2004) (“plaintiffs cannot bring


38
 The aiding and abetting allegations as to Yerian are limited to alleged actions arising out of the Edison Mission case,
which, as discussed below (see infra § I.H), concluded in March 2014, beyond RICO’s four-year statute of limitations.
39
   Section 1962(c), which is the basis for Alix’s aiding and abetting claims, does not include any reference to aiding
and abetting as a form of racketeering activity. This stands in contrast to Section 1962(a)—a separate basis for RICO
liability that Alix does not allege—which expressly defines participation in a racketeering activity to encompass aiding
and abetting as defined by the general criminal aiding and abetting statute, 18 U.S.C. § 2. The contrast further
demonstrates that “there is no reason to believe that the omission of language in RICO covering aiders and abettors
was inadvertent.” Dep’t of Econ. Dev. v. Arthur Andersen & Co. (U.S.A.), 924 F. Supp. 449, 476 (S.D.N.Y. 1996).

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aiding and abetting claims under RICO statutes”); see also Hayden v. Paul, Weiss, Rifkind,

Wharton & Garrison, 955 F. Supp. 248, 256 (S.D.N.Y. 1997) (“Following the reasoning in Central

Bank, this Court declines to create a private right of action for aiding and abetting a RICO

violation.”); Dep’t of Econ. Dev., 924 F. Supp. at 475-77; Niles v. Palmer, No. 97-cv-7573 (JSM),

1999 WL 1419042 at *9 (S.D.N.Y. Oct. 22, 1999); In re Motel 6 Secs. Litig., 161 F. Supp. 2d 227,

235 n.7 (S.D.N.Y. 2001); Ling v. Deutsche Bank, No. 04-cv-4566, 2005 WL 1244689, at *3

(S.D.N.Y. May 26, 2005); Estate of Gottdiener v. Sater, 35 F. Supp. 3d 386, 396 (S.D.N.Y. 2014).

Consistent with this substantial line of authority, Alix’s aiding and abetting allegations cannot be

the basis of a viable RICO claim.40

                 2.       Alix Fails to Plead Primary Liability Against Any Individual.

        Alix must plead specific facts showing that each Individual Defendant committed two or

more predicate acts—including identifying the “individual role[ ]” each played in the alleged

scheme. DiVittorio, 822 F.2d at 1247; see also Worldwide Directories, 2016 WL 1298987, at *4

(“Each element of a RICO violation . . . must be plausibly alleged as to each defendant rather than

simply to the enterprise as a whole.”); Targum v. Citrin Cooperman & Co., No. 12-cv-6909 (SAS),

2013 WL 6087400, at *4 (S.D.N.Y. Nov. 19, 2013) (same with respect to fraudulent intent).

Because of the stigma associated with racketeering allegations, “Rule 9(b)’s particularity

requirements have ‘even greater urgency’ in civil RICO actions.” Schmidt v. Fleet Bank, No. 96-

cv-5030 (AGS), 1998 WL 47827, at *5 (S.D.N.Y. Feb. 4, 1998) (quoting Morin v. Trupin, 778 F.

Supp. 711, 716 (S.D.N.Y. 1991)).




40
   Alix’s claims also fail because he has not pleaded any substantive RICO claims under Section 1962(c). See supra
§ I.C; Charmac Props., Inc. v. Pike, No. 86-cv-7919, 1993 WL 427137, at *4 (S.D.N.Y. Oct. 19, 1993) (“[T]o properly
allege a claim for aiding and abetting, the plaintiff must show: . . . a primary violation.”).

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         Alix’s allegations fail to specify the actions the Individual Defendants allegedly took.

Instead, the Amended Complaint emphasizes the high-level positions held by certain of the

Individual Defendants41 and contends that, as a consequence, they must have knowingly

participated in the alleged scheme. (See, e.g., AC ¶¶ 299(e)-(k), 311-17.) But this Court previously

has rejected this same pleading formula as inadequate under Rule 9(b):

                  [A] Complaint’s mere recitation of fraudulent practices, coupled
                  with conclusory allegations that [d]efendants were aware of these
                  practices by virtue of their positions . . . , fails to state with
                  particularity facts giving rise to a strong inference that any
                  Defendant [made] false[] represent[ations], with scienter.

Sanchez, 2015 WL 3540836 at * 10 (quoting In re One Commc’ns Corp., 2009 WL 857535, at

*11 (S.D.N.Y. Mar. 31 2009)). “[A] plaintiff may not rely solely upon defendants’ ‘positions of

control’ in an enterprise, and may not link individual defendants to fraudulent activities ‘by stating

only that defendants were officers’ of the organization.” Id. at *6; see also City of Phila. v. Fleming

Cos., Inc., 264 F.2d 1245, 1264 (10th Cir. 2001) (fact of having “occupied senior positions in the

company . . . is not sufficient to imply knowledge of the specific fact of materiality”).42 Under the

approach adopted by Alix here, “every corporate executive who participates in the day-to-day

management of his company would be exposed to liability for . . . fraud.” 43 In re Criimi Mae, Inc.

Secs. Litig., 94 F. Supp. 2d 652, 661 (D. Md. 2000).



41
  Alix is unable to allege even that as to Proshan. (Compare AC ¶ 299(i) (not alleging Proshan had any executive
authority) with AC ¶ 299(e)-(g), (j) (alleging other Individual Defendants had “high degree of executive authority”).)
42
  See also In re Advanta Corp. Secs. Litig., 180 F.3d 525, 539 (3d Cir. 1999) (quoting Maldonado v. Dominguez, 137
F.3d 1, 10 (1st Cir. 1998)) (“[A]llegations that a securities fraud defendant, because of his position within the company,
‘must have known’ a statement was false or misleading are ‘precisely the types of inferences which [courts], on
numerous occasions, have determined to be inadequate to withstand Rule 9(b) scrutiny.”).
43
   In the “Scienter” portion of the Amended Complaint—a scant twelve paragraphs in a 588-paragraph pleading—
Alix relies solely on the fact that “Garcia, Goldstrom, and Proshan have legal training and/or have practiced law and,
therefore, are sophisticated actors.” (AC ¶ 377(f).) Having been “at the top of his class” in law school twenty-five
years ago or even having passed the bar examination before becoming a management consultant (id.), is not a plausible
allegation of intent.

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         Besides pointing to their senior positions at McKinsey (along with the conclusory and

legally invalid refrain that the individuals “aided and abetted”), the Amended Complaint has little

to say about the Individual Defendants. An examination of the allegations against each reveals the

Amended Complaint’s glaring lack of particularity as to them.44

                           a.       Dominic Barton

         The allegations against Dominic Barton, McKinsey’s former global managing partner, are

largely unchanged in the Amended Complaint and still fail to state a claim of fraud or plausibly

allege any wrongdoing. The Amended Complaint does not allege that Barton was involved in

formulating or filing any of McKinsey’s Rule 2014(a) disclosures, or that he played any role in

any of the bankruptcy cases at issue. To the contrary, Alix alleges that when he raised his concerns

with Barton in September 2014, more than a decade after the purported RICO conspiracy began,

Barton was unfamiliar with both U.S. bankruptcy law and the firm’s bankruptcy procedures. Alix

had to “explain[] McKinsey’s disclosure obligations under bankruptcy law at length to Barton,” as

well as provide a “detailed exposition of the relevant legal principles . . .” (AC ¶ 123.) When Alix

phoned Barton to complain about RTS’s disclosures in NII Holdings in 2014 and Standard

Register in 2015, Barton was unaware even of McKinsey having been retained in those matters.45

(Id. at ¶¶ 142, 157.)



44
   Tacitly recognizing this failure, Alix contends that the alleged fraudulent conduct “will be proven through
discovery.” (E.g., AC ¶ 141.) This is insufficient to save his claims. Madonna v. United States, 878 F.2d 62, 66 (2d
Cir. 1989) (noting that the “contention that discovery will unearth information tending to prove his contention of fraud
is precisely what Rule 9(b) attempts to discourage”); U.S. ex rel. Raffington v. Bon Secours Health Sys., Inc., 285 F.
Supp. 3d 759, 774 (S.D.N.Y. 2018) (“[A] party who cannot meet the pleading requirements of Rule 9(b) is not entitled
to discovery in order to flesh out the missing elements.”).
45
  McKinsey serves roughly 2,000 clients per year on average, and the bankruptcy cases at issue here thus represented
less than 0.1% of McKinsey’s firm-wide clients. As the firm’s global managing partner, Barton was not involved on
a granular level in the day-to-day operation of the firm’s many functional and industry practices, and his lack of
knowledge about two bankruptcy engagements is not surprising. Indeed, it underscores the implausibility of Alix’s
claim that the firm’s managing partner had promised to undertake the task of “track[ing] all future McKinsey
bankruptcy cases.” (AC ¶ 142.)

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       The Amended Complaint also alleges that, during other meetings and phone conversations

in which Alix made additional complaints, Barton “foster[ed] in Alix the false impression that

McKinsey was pursuing corrective action in light of Alix’s admonishments.” (Id. at ¶¶ 326, 368,

438, 515.) But an assertion that Barton took no remedial action after purportedly saying that he

would do so is insufficient to state a fraud claim. Fezzani v. Bear Stearns & Co., Inc., 592 F. Supp.

2d 410, 423 (S.D.N.Y. 2008) (“Where a defendant owes no fiduciary duty to a plaintiff, mere

inaction by the defendant cannot constitute actionable participation in [fraud].”).

       The Amended Complaint alleges no other facts “giv[ing] rise to a strong inference of

fraudulent intent” on Barton’s part. First Capital Asset Mgmt., 385 F.3d at 179. Alix’s bald

assertion that Barton never intended to change RTS’s bankruptcy procedures, but instead was

intent on “forestalling remedial litigation by [AlixPartners] and Alix by means of [his] duplicitous

interactions” (AC ¶ 520) is unsupported by any factual pleading. Merely characterizing Barton’s

inaction as a manifestation of fraudulent intent, where other plausible and wholly innocent reasons

for any purported change of mind or failure to act exist, does not satisfy Rule 9(b). Targum, 2013

WL 6087400, at *4. Alix’s own inaction in commencing his threatened “remedial litigation”

reinforces the substantial doubt over the plausibility of his claims.

                       b.      Kevin Carmody

       The allegations against Kevin Carmody, a senior McKinsey partner, also fail to state a

claim, whether under the plausibility standards of Iqbal and Twombly or the particularity

requirements of Rule 9(b). Besides alleging that Carmody was a “senior executive” at RTS, the

only substantive allegations leveled against Carmody are that he played a role in preparing and

then signed certain of RTS’s Rule 2014(a) disclosures. (AC ¶¶ 104, 299(j), 313, 377(g).) As

explained above, the contention that those disclosures contained actionable misrepresentations or

material omissions fails as a matter of law. (Supra § I.C.1.)
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         Moreover, the suggestion that an intent to defraud can plausibly be inferred from the fact

that Carmody signed certain RTS disclosures does not pass muster. Carmody did not join

McKinsey until 2011 and the earliest allegations relating to him are from 2012 (see AC ¶ 105)—

meaning that the disclosures he signed used a methodology that McKinsey had been using for a

decade, as a means of protecting McKinsey’s commitment to serving its clients “in a manner that

protects the confidentiality of each client’s information (including the confidentiality of the

engagement itself).” (See, e.g., Ex. 11-A, ANR Doc. 212 ¶ 21.) The theretofore unchallenged use

of this methodology, by any party or bankruptcy court, provides a “natural explanation” as to why

Carmody would have relied upon it in good faith. Twombly, 550 U.S. at 567-68. And, according

to the Amended Complaint, McKinsey was advised by “some of the most sophisticated legal

counsel in the world.” (AC ¶ 125.) Given these concessions, the Amended Complaint offers “no

reason to infer” that Carmody did anything other than follow McKinsey’s standard form for

disclosures—“what was only natural anyway,” Twombly, 550 U.S. at 566—let alone pleads facts

consistent with a “strong inference of fraudulent intent.” First Capital Asset Mgmt., 385 F.3d at

179.46

         The Amended Complaint is also silent about whether (and, if so, how) Carmody was aware

of any alleged falsity in the submissions he signed. Alix fails to allege that Carmody had personal

knowledge of any specific connections to Interested Parties that he failed to disclose47 or that he



46
  Also insufficient is the allegation that Carmody previously had worked at AlixPartners and he “would have known”
that AlixPartners’s Rule 2014(a) disclosures were “far more robust” than McKinsey’s “bare-bones” disclosures. (AC
¶ 377(g).) Awareness of differences in disclosure practices between competitors is hardly an allegation that Carmody
knowingly submitted false declarations while at McKinsey.
47
   For example, the Amended Complaint cites Carmody’s deposition testimony as evidence that he was able to recall
the names of a few of the first lien lenders—including Whitebox—in the ANR bankruptcy case. But there is no
allegation that Carmody had personal knowledge that MIO had an interest in Whitebox or believed that there was any
need to disclose MIO’s connections, particularly since Whitebox was not on the Interested Party list given to RTS by
the Debtor. (See, e.g., Ex. 11-A, ANR Doc. 212.).

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had any motive or reason to submit false declarations to the bankruptcy courts.48 That Carmody

worked for RTS and might benefit generally from its success is patently inadequate: “[i]n the

corporate context . . . [m]otives that are generally possessed by most corporate directors and

officers do not suffice; instead, plaintiffs must assert a concrete and personal benefit to the

individual defendants resulting from the fraud.” Bigsby, 170 F. Supp. 3d at 578 (quoting Kalnit v.

Eichler, 264 F.3d 131, 139 (2d Cir. 2001)). The Amended Complaint lacks any such allegations.

        To the extent Alix alleges that McKinsey’s conflict-checking process was “substandard”

and “inadequate,” (AC ¶ 63) and thus “ensur[ed] that relevant connections would be missed,” (id.

at ¶ 377(b), he also alleges that the process was created before Carmody’s employment began.

This concession is fatal to Alix’s attempt to plead that Carmody’s reliance on that process is a fact

making plausible his intent to defraud. Powers v. British Vita, P.L.C., 57 F.3d 176, 184 (2d Cir.

1995) (intent requires allegation of either “a motive for committing fraud and a clear opportunity

for doing so” or “circumstances indicating conscious behavior by the defendant”).

                          c.      Jon Garcia

        Remarkably, the Amended Complaint does not allege any specific act that Jon Garcia

engaged in. Garcia, who is a senior McKinsey partner and the President of RTS, is never alleged

to have made a telephone call, sent an email, reviewed a document, or taken any other action. The

Amended Complaint alleges only that Garcia engaged in aiding and abetting (see, e.g., AC ¶ 310),

which as discussed above, fails to state a civil RICO claim as a matter of law. (See supra § I.D.1.)

The aiding and abetting allegation is also conclusory, as there is no specification of how Garcia

caused, authorized, or substantially assisted any allegedly false or misleading submissions.



48
  Even assuming, arguendo, that the Amended Complaint supports an inference that Carmody had a motive to obtain
more business for McKinsey because of his status as a McKinsey partner, that fails to satisfy Rule 9(b). Sanchez,
2015 WL 3540836, at *20-21.

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         As to intent to defraud, the allegations against Garcia are almost exclusively in regard to

his position at the firm and the fact that he has legal training, (AC ¶¶ 299(g), 377(f))—neither of

which is adequate to plead fraud. Sanchez, 2015 WL 3540836, at *6. There are no facts alleged

that connect Garcia to any Rule 2014(a) disclosure, let alone any from which one could infer that

Garcia knew such disclosures were false. Garcia is smeared with the charge of being a racketeer,

despite the absence of any allegation of wrongdoing or even action.

                           d.       Seth Goldstrom

         Stripped of conclusory rhetoric and legal argument, the Amended Complaint’s few

scattered references to Seth Goldstrom, another senior McKinsey partner, establish nothing more

than that he signed disclosures as RTS’s corporate representative in the Harry & David and AMR

bankruptcies in 2011 and 2013—well beyond the statute of limitations period for RICO. (Infra

§ I.H.) These allegations are insufficient to state a plausible and particularized claim that he

committed predicate violations of bankruptcy, wire, and mail fraud as part of the conduct of a

racketeering enterprise.

         The Amended Complaint includes, at most, nine unique paragraphs in the statement of

facts that even arguably could be read to describe any conduct by Goldstrom personally. (AC

¶¶ 94-95, 97-101, 105, 205.) These paragraphs, however, allege nothing more than that Goldstrom

signed the Harry & David and AMR disclosures (id. ¶¶ 94-95, 97, 99-101), and that he

communicated with his colleagues about their work. (Id. at ¶¶ 98, 105, 205).49 The balance of the



49
   The Amended Complaint alleges that McKinsey RTS’s fee applications in the AMF Bowling and SunEdison
bankruptcies show that Goldstrom’s colleagues were “in communication with” Goldstrom or “consulted” him in
connection with those engagements. (AC ¶¶ 105, 205, 302, 312, 314-15.) The fee application in AMF Bowling does
not reflect any time entry for Goldstrom and mentions Goldstrom only indirectly in connection with unspecified
“correspondence” with Proshan. A non-specific allegation of “correspondence” or “communication” with a colleague
is plainly insufficient to state any claim, much less satisfy Rule 9(b)’s particularity requirement when alleging fraud.
And, contrary to the Amended Complaint’s representations, Goldstrom’s name does not appear at all in in the
SunEdison fee application.

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allegations is that Goldstrom is a lawyer (id. at ¶¶ 63, 125, 377(f), 551), a “Senior Partner” and

“executive of McKinsey & Co.,” and “executive” and “board member of McKinsey RTS.” (Id. at

¶ 37.) These allegations are insufficient to state a claim. There are no allegations that Goldstrom

knew or believed the disclosures he signed were incomplete or misleading, or that he acted for the

purpose of depriving AlixPartners of money or property (just as with Carmody, see supra

§ I.D.2.b). The Amended Complaint also does not allege that Goldstrom personally researched

every potential connection in the disclosures he signed, drafted the disclosures, or had any reason

to believe he could not rely in good faith on the judgment of the professionals who did.50

        The only non-conclusory factual allegations against Goldstrom are fully consistent with a

good faith intent to further RTS’s legitimate business activities. Among other things, the Amended

Complaint acknowledges that the methodology used to prepare RTS’s disclosures in Harry &

David and AMR had been in place for more than a decade before Goldstrom is alleged to have

participated in submitting any bankruptcy-related disclosures (id. at ¶¶ 67(a)-(e), 72-83, Ex. A),

that McKinsey’s business relationships were “complex[]” (id. at ¶ 71), that McKinsey was advised

by “some of the most sophisticated legal counsel in the world” (id. at ¶ 125), and that neither

AlixPartners nor any of the parties to the bankruptcy cases questioned or challenged RTS’s

methodology until after the Harry & David and AMR cases. (Id. at ¶ 119.)

        Further, the only disclosures that Goldstrom actually signed—in Harry & David and

AMR—expressly stated that McKinsey was disclosing its connections by descriptive category,

rather than by name, and set forth the bona fide reason for doing so (i.e., to maintain McKinsey’s



50
  Indeed, the disclosures Goldstrom signed expressly state that they are based on information compiled by other
McKinsey employees. (E.g., Ex. 5-A, Harry & David Doc. 105-3 ¶ 2 (disclosures based on the “knowledge of
professionals working under my direction”); id. at ¶ 10 (“McKinsey RTS made inquiry to all of its partner
professionals and its affiliates’ partner professionals about whether they currently provide consulting services to
entities with a direct commercial relationship with the Debtors.”).

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confidentiality obligations to its management consulting clients). (E.g., Ex. 5-A, Harry & David

Doc. 105-3 ¶¶ 6, 9 (describing confidentiality obligations associated with McKinsey’s

engagements), 10.) The limited non-conclusory allegations about Goldstrom in the Amended

Complaint are thus fully consistent with a finding that he signed these disclosures on behalf of

RTS in a representative capacity as part of a good faith effort to provide services to debtors who

previously had selected McKinsey (and not AlixPartners) to provide management consulting

services.

       The limited allegations regarding the AMF Bowling and SunEdison bankruptcies are

similarly insufficient. Those allegations—that Goldstrom “consulted” with (AC ¶ 205) or was in

“communication” with (id. at ¶ 105) his colleagues, without any particularization of the content of

the communication—are fully consistent with lawful conduct in the ordinary course of business.

Taken in their entirety, the allegations against Goldstrom are “not only compatible with, but

indeed . . . more likely explained by, lawful, unchoreographed free-market behavior,” and so

cannot state a plausible racketeering claim. Iqbal, 556 U.S. at 680. All the claims against

Goldstrom must be dismissed for this reason alone.

       The Amended Complaint also falls far short of Rule 9(b)’s requirement to provide

particularized allegations of intent to defraud. There are no non-conclusory allegations that

Goldstrom was aware of any undisclosed connections, or that he believed that any of the Rule

2014(a) disclosures he signed, which were prepared by McKinsey with the benefit of “access to

some of the most sophisticated legal counsel in the world” (AC ¶ 125), were false or misleading.

The Amended Complaint fails to allege that Goldstrom even had reason to know that Alix believed

RTS’s disclosures to be inadequate, as it alleges that Alix did not raise this issue with any court or

the U.S. Trustee until after the Harry & David and AMR bankruptcies. (See AC ¶ 119 (alleging



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that Alix raised concerns for the first time in September 2014).) Nor is there any allegation that

Goldstrom had any motive or any reason to believe that Alix or AlixPartners posed any competitive

threat to RTS with respect to these engagements, that Goldstrom believed disclosure of

connections by name was required, or that McKinsey would be disqualified if it had made its

disclosures by name.51 Thus, there are no facts pleaded that provide the “strong inference” of

intent to defraud required by Rule 9(b).

                             e.       Alison Proshan

           The extent of the allegations against Alison Proshan is that she is an “associate general

counsel to McKinsey” who “assisted in the preparation of [Rule 2014] disclosures.”

(AC ¶¶ 282(h), 343.) The mere allegation that she provided such assistance in connection with

Rule 2014 disclosures does not even conceivably (much less plausibly) state a claim that she

knowingly engaged in a pattern of racketeering activity. Not only does the Amended Complaint

fail to allege facts suggesting that she did anything wrong in the course of her legal work, it

affirmatively alleges that the work she performed was reviewed both by “some of the most

sophisticated legal counsel in the world” (id. at ¶ 125) and her supervisor, the General Counsel of

McKinsey. (Id. at ¶ 128.) Moreover, McKinsey’s approach to disclosures (justified by its bona

fide commercial rationale) was established long before Proshan even joined McKinsey in 2009.

The Amended Complaint thus acknowledges that Proshan was doing her job as a lawyer, assisting

her client with its bankruptcy submissions consistent with McKinsey policy. (Id. at ¶ ¶ 318, 329,

379.) That cannot form the basis of any claim, let alone a fraud-based racketeering charge. Morin

v. Trupin, 711 F. Supp. 97, 105 (S.D.N.Y. 1989) (“[A]lthough attorneys are not immune from




51
     Nor can fraudulent intent be inferred from a generalized profit motive. (See supra § I.D.2.)

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liability simply because they represent a client, legitimate acts of attorneys on behalf of clients

cannot form the basis of a RICO claim.”).

       Moreover, the Amended Complaint alleges no facts from which one could draw an

inference, let alone a “strong inference,” of fraudulent intent. Sanchez, 2015 WL 3540836 at *10.

Despite its length, the Amended Complaint contains not a single factual allegation—no emails,

memoranda, conversations, or other evidence—that indicates Proshan was aware that any

Rule 2014 disclosure was false or misleading, much less that she intended them to be so.

       Nor, for that matter, does the Amended Complaint offer any motive for her participation

in the alleged fraudulent scheme. It provides not a scintilla of explanation for what Proshan would

have stood to gain from willfully engaging in fraud. Mere employment by McKinsey is, as a

matter of law, not enough: “[A] generalized profit motive that could be imputed to any company

has been consistently rejected as a basis for inferring fraudulent intent” by such company’s

employees. Sanchez, 2015 WL 3540836 at *8; supra § I.D.2.b. Absent specific facts supporting

Alix’s allegations of wrongful knowledge, intent, or motive on her part, the RICO charges against

Proshan should be dismissed.

                       f.      Robert Sternfels

       The Amended Complaint contains only the slimmest of allegations as to Robert Sternfels,

besides that he, too, is a senior McKinsey partner. It alleges no facts indicating that Sternfels had

any role drafting or filing Rule 2014(a) disclosures. Rather, the principal accusation is that he

allegedly listened in on two telephone calls between Alix and Barton in September 2014. (AC

¶¶ 25, 119, 299(f).) The Amended Complaint does not attribute any improper actions to Sternfels’s

role in the calls, where he was a passive participant. Nor does it assert that Sternfels did anything

during or as a result of the two calls. Listening in on two phone conversations where one’s business



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rival vented about perceived misdeeds is not sufficient to constitute racketeering, and it certainly

does not satisfy the Rule 9(b) standard for pleading fraud.52

                           g.        Jared Yerian

         The only thing Jared Yerian, a former Executive Vice President of RTS, is alleged to have

done is sign RTS’s Rule 2014(a) disclosures in Edison Mission in 2012 and 2013 (beyond the

applicable statute of limitations).53 Notably, there are no allegations that Yerian personally failed

to disclose known connections by category, that he misrepresented the scope, nature, or quantity

of connections that were disclosed, or that he misstated the way that RTS searched for connections.

Nor are there allegations that Yerian personally researched connections or could not reasonably

rely on those who did. Remarkably, unlike in some other cases identified in the Amended

Complaint, Alix fails to identify any specific connection in Edison Mission that purportedly was

not disclosed. Rather, Alix alleges vaguely that Yerian “conceal[ed] connections to likely dozens

of Interested Parties (id. at ¶ 109 (emphasis added)) and that the declarations Yerian signed were

false or misleading solely because they “[f]ailed to identify connections by name and provide

details of relationships.”54 (Id. at Ex. B at 22-24.)




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   The only other allegation as to Sternfels is that because he knew Ahmad Chatila, the CEO of SunEdison (a fact
disclosed in RTS’s disclosures (AC ¶ 237)), and because almost a year after the SunEdison bankruptcy McKinsey
disclosed that an affiliate entered into a business arrangement with Chatila (who had since left SunEdison (id. at
¶ 239)), Sternfels may have engaged in misconduct. Alix hypothesizes that “subsequent events” raised a “troubling
question” of whether Chatila, while CEO of SunEdison, had caused SunEdison to retain McKinsey RTS, as a quid
pro quo for assisting Chatila in obtaining new employment should he be fired from the insolvent SunEdison.” (Id. at
¶¶ 219 (emphasis added), 238.) This rank speculation gives rise to no plausible inference of fraud. Alix does not
allege a single email, memo, telephone call, meeting, or other fact supporting his accusation that Sternfels was “likely”
involved in an unlawful quid pro quo with Chatila. (AC ¶ 299(f).)
53
  Alix’s other allegations relating to Yerian are that he is a trained accountant (AC ¶ 63) and an experienced
bankruptcy professional who, by virtue of having worked at AlixPartners should have known that RTS’s disclosures
were inadequate. (Id. at ¶¶ 109, 299(k), 317, 377(h).)
54
  Like RTS’s other disclosures, those in Edison Mission transparently disclosed that RTS listed its connections by
descriptive category and explained that the reason for doing so was client confidentiality. (Ex. 8-A, Edison Mission
Doc. 175-3 ¶¶ 18-19.)

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         These speculative and conclusory allegations come nowhere close to showing that Yerian

knowingly participated in a vast RICO scheme. Indeed, the allegations regarding Yerian are more

plausibly consistent with his good faith belief that he was executing legitimate business activities

of RTS.55 The Amended Complaint concedes that RTS’s disclosure methodology had been in

place for more than a decade before Yerian joined RTS (id. at ¶¶ 72-106, Ex. A), that RTS was

advised by “some of the most sophisticated legal counsel in the world” (id. at ¶ 125), that

McKinsey’s business relationships were “complex[]” (id. at ¶ 71), and that Alix did not question

RTS’s disclosures until September 2014, long after the Edison Mission assignment was complete.

(Id. at ¶ 119.) Simply put, Alix fails to allege that Yerian knew that RTS’s disclosures in Edison

Mission (or otherwise) violated Rule 2014(a), let alone that had the disclosures been by name, RTS

would have been disqualified.

         E.       Alix Fails to Plead a RICO Enterprise Against the Corporate Defendants.

         A Section 1962(c) RICO “enterprise must be separate from the pattern of racketeering

activity, and distinct from the person conducting the affairs of the enterprise.” In re GM LLC

Ignition Switch Litig., No. 14-md-2543 (JMF), 2016 WL 3920353, at *12 (S.D.N.Y. July 15,

2016). The Second Circuit repeatedly has affirmed that “the same entity cannot be both the RICO

person and the enterprise.” U1it4less, Inc. v. FedEx Corp., 871 F.3d 199, 205 (2d Cir. 2017) (citing

Anatian v. Coutts Bank (Switz.) Ltd., 193 F.3d 85, 89 (2d Cir. 1999)) (emphasis in original); see

also Bennett v. U.S. Tr. Co., 770 F.2d 308, 315 (2d Cir. 1985). Alix names the Corporate

Defendants in two of the three substantive RICO counts—1 and 3—and the Amended Complaint


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  In fact, a disclosure Yerian signed advised the bankruptcy court that McKinsey affiliates performed ongoing work
for the debtors’ competitors and other Interested Parties, and would continue to do so. (Ex. 8-A, Edison Mission RTS
Retention letter (incorporated by reference into Doc. 175-3) ¶ 19 (“It is McKinsey’s long-standing policy to serve
competing clients and clients with potentially conflicting interests . . . Consistent with such practice and McKinsey’s
confidentiality obligations to its other clients, McKinsey is not able to advise or consult with the Client about
McKinsey serving the Client’s competitors or other parties . . .”).)

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does not alter the way in which either of the purported enterprises in these counts allegedly are

structured. In Count 1, RTS is the purported enterprise and the remaining Corporate Defendants

are accused of conducting RTS’s affairs through a series of predicate acts. (AC ¶¶ 293, 299.) In

Count 3, all Defendants are accused of operating an enterprise consisting of “McKinsey and the

bankruptcy consulting clients of McKinsey US and McKinsey RTS” in the thirteen cases. (Id. at

¶ 456.) Because the McKinsey entities named as “persons” in each of these counts are not distinct

from the alleged RICO “enterprises,” both counts fail as to them.

       The Count 1 Enterprise fails under the well-established rule in this Circuit that “a

corporation carrying out its own activities (even fraudulent ones) only through its agents and

employees does not constitute an enterprise.” In re GM, 2016 WL 3920353, at *12; see also Cruz,

720 F.3d at 120 (defendant corporation, its COO, and its corporate counsel cannot form an

enterprise); Riverwoods Chappaqua Corp. v. Marine Midland Bank, N.A., 30 F.3d 339, 344 (2d

Cir. 1994) (“[B]y alleging a RICO enterprise that consists merely of a corporate defendant

associated with its own employees or agents carrying on the regular affairs of the defendant, the

distinctness requirement may not be circumvented.”). A plaintiff cannot artificially manufacture

distinctness between a corporate subsidiary and its parents, affiliates, and employees by relying

upon the fact of the subsidiary’s separate incorporation. U1it4less, 871 F.3d at 206, 208.

       That is exactly what the Amended Complaint attempts to do. In U1it4less, the plaintiff

alleged that FedEx Corp. and FedEx Services conducted the affairs of FedEx Ground, FedEx

Corp.’s wholly-owned subsidiary, through a pattern of racketeering activity. 871 F.3d at 206. The

court dismissed the Section 1962(c) claim, holding that the three companies comprised a unified

corporate structure “guided by a single corporate consciousness.” Id. at 206-07. The same is true

here. The alleged enterprise in Count 1 is RTS, a Delaware limited liability company whose sole



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member is McKinsey & Co. (US) (a wholly-owned subsidiary of McKinsey Holdings, Inc., which

is itself a wholly-owned subsidiary of McKinsey & Co., Inc.). (AC ¶¶ 30-33; see also Dkt. 58

(Rule 7.1 Corporate Disclosure Statement).) Nowhere does Alix allege facts giving rise to a

plausible inference that RTS operated outside of the McKinsey & Co., Inc. corporate structure; to

the contrary, he alleges that the Corporate Defendants (and the Individual Defendants) are liable

as RICO persons because of their relationships or positions within the McKinsey corporate

structure. (AC ¶ 299.) As such, RTS is not distinct from the rest of McKinsey and, therefore,

Count 1 must be dismissed as to the Corporate Defendants for failure to plead a RICO enterprise.

       Alix’s attempt to plead an association-in-fact enterprise in Count 3 consisting of

“McKinsey” and the “bankruptcy consulting clients of McKinsey US and McKinsey RTS” (id. at

¶ 456) also fails.   Alix contends that this enterprise is structured around (1) the corporate

relationships among McKinsey entities, (2) the “terms of the retention agreements” between

McKinsey and its restructuring clients, and (3) the fact that some McKinsey personnel are

sometimes placed onsite at the client to assist with the restructuring assignment. (Id. at ¶ 457.) As

explained above, there can be no RICO enterprise among corporations that are part of a unified

corporate structure. In re GM, 2016 WL 3920353, at *14. Moreover, there is no basis to infer a

RICO enterprise from the (undisclosed) terms of a consulting contract or the fact that personnel

may work onsite while completing an assignment. The Amended Complaint continues to lack any

factual allegations explaining how or why (or even which among) any of McKinsey’s restructuring

clients—or any of the purported Count 3 Enterprise members—joined together with a “common

purpose” to operate a RICO enterprise to deprive AlixPartners of bankruptcy assignments. Id.

And without pleading any facts to show how McKinsey’s clients joined McKinsey in any common

purpose—other than for the legitimate business purpose of advising and restructuring the clients’



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businesses—the only entities left to occupy this purported enterprise “operate as part of a single,

unified corporate structure and are, as such, not sufficiently distinct to demonstrate the existence

of a RICO enterprise.” Cruz, 720 F.3d at 121; In re GM, 2016 WL 3920353, at *14.

         F.       Alix Fails to Plead that Any of the Individual Defendants Conducted or
                  Participated in the Conduct of a RICO Enterprise.

         To properly plead a Section 1962(c) violation, a plaintiff must allege that each defendant

“conduct[ed], or participat[ed] in the conduct of the affairs of the enterprise” through a pattern of

racketeering activity. 18 U.S.C. § 1962(c). The Supreme Court held in Reves v. Ernst & Young,

507 U.S. 170, 178-79 (1993), that this requirement limits liability to those persons who “operated

or managed” the affairs of the enterprise. “[P]erformance of tasks that are ‘necessary or helpful’

to the enterprise, without more, is insufficient to bring a defendant within the scope of § 1962(c).”

United States v. Viola, 35 F.3d 37, 41 (2d Cir. 1994). Having a formal position in a corporate

structure is not enough; rather, a plaintiff must make specific allegations showing that a defendant

played “some part in directing the enterprise’s affairs.” See Crab House of Douglaston Inc. v.

Newsday, Inc., 418 F. Supp. 2d 193, 206 (E.D.N.Y. 2006) (plaintiff did not satisfy the Reves test

where it failed to attach any specific allegation to directors of a corporation). “The polestar is the

activity in question, not the defendant’s status,” title, or position in the corporate structure.

Handeen v. Lamaire, 112 F.3d 1339, 1349 (8th Cir. 1997) (emphasis added).56

         Here, Alix fails to allege facts sufficient to establish that any Individual Defendant operated

or managed the alleged racketeering enterprises.




56
   See also Sanchez 2015 WL 3540836, at *6 (“[P]laintiff may not rely solely upon . . . stating only that defendants
were officers and shareholders of the organization.”) (quotation and citation omitted); Productores Asociados de Café
Rio Claro, C.A. v. Barnett, No. 98-cv-499 (DAB), 1999 WL 287389, at *3 (S.D.N.Y. May 7, 1999) (it is insufficient
to conflate an individual’s title or position in an organization with “directing” the affairs of the entirely separate RICO
enterprise).

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        Alison Proshan. The Amended Complaint is most obviously deficient under Reves in its

allegations against Alison Proshan. It merely alleges that Proshan was “an associate general

counsel [who] furnishes in-house legal services to McKinsey,” including in connection with Rule

2014(a) disclosures. (AC ¶¶ 299(i), 552.) The Amended Complaint does not allege she was an

executive or partner of McKinsey or RTS or had any managerial responsibilities whatsoever

(neither of which would be legally sufficient, in any event), much less that she supervised or

directed the activities of the alleged enterprises. In fact, the Amended Complaint rightfully omits

Proshan from its definition of senior leadership. (Id. at ¶¶ 65, 131.)

        Moreover, the Amended Complaint alleges that Proshan acted “within the scope of [her]

formal position[] . . . in furtherance of deliberate corporate policy sanctioned and actively

furthered by senior management.” (Id. at ¶ 318 (emphasis added).) But an attorney does “not

become a participant in directing the enterprise’s affairs by knowingly implementing decisions of

upper management.”57 Walter v. Drayson, 538 F.3d 1244, 1249 (9th Cir. 2008). There are simply

no allegations that remotely suggest that Proshan operated or managed any aspect of the alleged

enterprises—a fatal defect under Reves.

        At most, the Amended Complaint suggests that Proshan provided legal assistance in

preparing the Rule 2014(a) disclosures as part of her job responsibilities as an associate general

counsel. (AC ¶ 303.) The “performance of tasks that are ‘necessary or helpful’ to the enterprise,

without more, is insufficient to bring a defendant within the scope of § 1962(c).” Viola, 35 F.3d

at 41; see also Vickers Stock Res. Corp. v. Quotron Sys., Inc., No. 96-cv-2269 (HB), 1997 WL

420265, at *4 (S.D.N.Y. July 25, 1997). (“RICO liability will not be imposed upon a defendant




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   The fact that individuals were acting within the scope of their employment, without more, “hardly conjures the
specter of enterprise-conductor.” Crab House, 418 F. Supp. at 208.

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simply because [she] provides goods and services that benefit the RICO enterprise.”).58 Proshan’s

legal work in helping in the preparation of the Rule 2014(a) disclosures may or may not have been

“necessary and helpful,” but none of the Amended Complaint’s allegations support the inference

that she played a role in managing or controlling the alleged enterprises. See Baumer v. Pachl, 8

F.3d 1341 (9th Cir. 1993) (attorney’s assistance in bankruptcy case as part of limited partnership’s

fraudulent scheme did not satisfy Reves); Biofeedtrac, Inc. v. Kolinor Optical Enters. &

Consultants, S.R.L., 832 F. Supp 585, 591 (E.D.N.Y. 1993) (no RICO liability where enterprise

was attorney’s sole client and attorney incorporated two corporate defendants involved in scheme

and served as director and officer for both); Nolte v. Pearson, 994 F.2d 1311, 1317 (8th Cir. 1993)

(attorneys who prepared false opinion letters did not “operate or manage” the enterprise).

           Seth Goldstrom, Kevin Carmody, and Jared Yerian. Similarly, the Amended Complaint

fails to allege any act by Goldstrom, Carmody, or Yerian that constitutes operation or management

of any enterprise. Aside from amorphous allegations of “aiding and abetting” various purported

acts of others,59 the Amended Complaint’s allegations against these Defendants relate exclusively

to signing certain Rule 2014(a) disclosures. (AC ¶¶ 304-05, 307.) As previously noted, however,

“performance of tasks that are ‘necessary or helpful’ to the enterprise, without more, is insufficient

to bring a defendant within the scope of § 1962(c).” Crab House, 418 F. Supp. 207 (quoting

United States v. Diaz, 176 F.3d 52, 92 (2d Cir. 1999)). There is no non-conclusory allegation that

any of these three individuals played any role in the alleged enterprises beyond this. The Amended

Complaint emphasizes the number of allegedly false Rule 2014(a) disclosures made by them



58
   See also Dep’t of Econ. Dev., 924 F. Supp. at 466 (“[P]roviding important services to a racketeering enterprise is
not the same as directing the affairs of the enterprise.”); Redtail Leasing v. Bellezza, No. 95-cv-5191 (JFK), 1997 WL
603496, at *5 (S.D.N.Y. Sept. 30, 1997) (“A defendant does not ‘direct’ an enterprise’s affairs under § 1962(c) merely
by engaging in wrongful conduct that assists the enterprise.”).
59
     The aiding and abetting allegations as to Yerian are limited to the Edison Mission case. (AC ¶ 299(k).)

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(ignoring the fact that these submissions were made in only a handful of bankruptcy cases), but

the number of signed declarations is legally irrelevant on this issue: “[i]n determining whether or

not a defendant participated in the operation or management of the RICO enterprise, the . . . focus

[is] on the degree of control the defendant exerted over the enterprise rather than the amount of

defendant’s involvement in the enterprise.” Vickers, 1997 WL 420265, at *4 (emphasis in

original).   The Amended Complaint fails under Reves for not alleging facts showing that

Goldstrom, Carmody, or Yerian directed or managed any of the alleged RICO enterprises.

        Jon Garcia and Robert Sternfels. Besides emphasizing their positions and titles at

McKinsey, the Amended Complaint has little to say about Garcia and Sternfels. No specific acts

of any sort are leveled against Garcia, much less acts that reflect his direction or management of

the enterprise. There are no allegations as to when, where, or how he exercised control over the

enterprise or the submission of any allegedly false Rule 2014(a) disclosures. Because there are no

facts pleaded in the Amended Complaint from which one could reasonably infer that Garcia

exerted direction or control as required under Reves, the Amended Complaint fails as to him.

        The allegations against Sternfels are also lacking. Sternfels is alleged to have joined two

telephone calls between Alix and Barton, and he “likely” was involved in some unidentified way

in a business arrangement with former SunEdison CEO Ahmad Chatila almost one year after the

SunEdison bankruptcy filing. These allegations, taken individually or together, do not amount to

directing or controlling a RICO enterprise. See, e.g., Biofeedtrac, Inc., 832 F. Supp. at 591-92

(“Plaintiff has adduced no facts to suggest that [defendant’s] actual or projected role was to ‘lead,

run, manage, or direct’ any part of the enterprise. Thus, he did not participate in the ‘conduct’ of

an enterprise and did not violate § 1962(c).”).




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        Dominic Barton. Similarly, none of the allegations against Barton indicate that he was

conducting or managing the RICO enterprise. Alix does not allege that Barton directly managed

the bankruptcy consulting practice and concedes that Barton first learned about the supposed

falsity of McKinsey’s bankruptcy disclosures in the latter half of 2014, some thirteen years after

the inception of the purported racketeering activity. (AC ¶¶ 119-127.) Nor is it alleged that, upon

learning of an already existing RICO enterprise, Barton elected to join and direct its affairs. Being

put on notice of a fraudulent scheme and doing nothing to put a stop to it are insufficient to satisfy

the Reves “operation or management” test. See In re Agape Litig., 681 F. Supp. 2d 352, 369

(E.D.N.Y. 2010) (dismissing RICO claim where, “[e]ven if the Court assumes that [the defendant]

consciously ignored the fraud or provided important services to aid its commission, this would still

be insufficient to show that [the defendant] directed or operated [the] scheme”); Walter, 538 F.3d

at 1248 (“It is not enough that [defendant] failed to stop illegal activity, for Reves requires some

degree of direction.” (citation omitted)); Amsterdam Tobacco Inc. v. Philip Morris Inc., 107 F.

Supp. 2d 210, 218 (S.D.N.Y. 2000) (“[E]ven if it [is] accepted as true . . . that [defendant] w[as]

aware of smuggling activity, that would not suffice to support a RICO claim.”).              Equally

insufficient to satisfy Reves is the speculative claim that Barton sought to “deflect and delay”

Alix’s remediation efforts to prolong the life of the fraudulent scheme. Even if Barton harbored

such an intent (which he did not) and acted on it, at best it might constitute assistance to the

enterprise, not the management or direction of it. Schmidt v. Fleet Bank, 16 F. Supp. 2d 340, 347

(S.D.N.Y. 1998) (“There is no doubt that plaintiffs have alleged wrongful acts that were allegedly

of real importance to Schick’s scheme . . . . However, when reduced to their essentials, these are

really allegations of assistance to the alleged RICO enterprise, not direction of it.”) (emphasis in

original).



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       G.      Alix Fails to Plead a RICO Conspiracy Under Section 1962(d).

       Because Alix has not pleaded any substantive RICO claim under Section 1962(c), his

“claim of conspiracy under Section 1962(d) must fail as well.” Sanchez, 2015 WL 3540836, at

*12; Discon, Inc. v. NYNEX Corp., 93 F.3d 1055, 1063 (2d Cir. 1996), vacated on other grounds,

525 U.S. 128 (1998). Moreover, the Section 1962(d) claim fails for two additional reasons.

       First, the Amended Complaint fails to plead that any Defendant “agreed with at least one

other entity to commit a substantive RICO offense.” Crawford v. Franklin Credit Mgmt., 758 F.3d

473, 487 (2d Cir. 2014); Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 25 (2d Cir. 1990)

(“Because the core of a RICO civil conspiracy is an agreement to commit predicate acts, a RICO

civil conspiracy complaint, at the very least, must allege specifically such an agreement.”). While

the Amended Complaint adds much text to Count 4, the circumstances—time, date, place, etc.—

under which Defendants allegedly formulated their conspiratorial agreement remain

conspicuously absent. Instead, Alix once again substitutes innuendo for facts; he alleges that each

of the McKinsey entities and Individual Defendants “knew of” and “facilitated” illegal activity

(AC ¶¶ 544, 549-54) and that based on the scope of the purported wrongful activity, and the “close

business and employment relationships” between the Defendants, “there can be no question (and

at a bare minimum, there is a strong inference)” that there was an agreement to further the unlawful

scheme. (Id. at ¶¶ 546, 555.) He further alleges, in conclusory fashion, that “[e]ach Defendant

agreed to facilitate, conduct, and participate in the conduct, management, or operation of the affairs

of McKinsey RTS, the Count 2 Enterprise, and/or the Count 3 Enterprise through a pattern of

racketeering activity.” (Id. at ¶ 556.)

       This is insufficient to plead the core of a conspiracy claim: a “conscious agreement”

between any of the Defendants. Hecht, 897 F.2d at 25 n.4; Wood v. Gen. Motors Corp., No. 08-

cv-5224 (PKC), 2015 WL 1396437, at *10 (E.D.N.Y. Mar. 25, 2015) (rejecting RICO conspiracy
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claim where plaintiff failed to allege a “meeting of the minds with respect to the alleged

violations”). There is not a hint as to when each Defendant joined the alleged conspiracy, with

whom he or she reached an agreement to join, what was agreed to, or any other specifics about

circumstances by which each individual supposedly joined. See Morin, 711 F. Supp. at 111; Naso

v. Park, 850 F. Supp. 264, 275 (S.D.N.Y. 1994) (rejecting Section 1962(d) claim that did “not

make specific factual allegations from which [the court] can conclude that defendants consciously

agreed to commit predicate acts with knowledge of the scope of the enterprise and intent to further

its affairs”). Nor are the allegations of the Defendants’ business and employment relationships

“sufficient to establish that each defendant consciously agreed to commit the specified predicate

acts.”60 4 K & D Corp., 2 F. Supp. 3d at 545.

         Second, the RICO conspiracy claim is defeated by application of the intracorporate

conspiracy doctrine.         A plaintiff cannot sustain a RICO conspiracy claim naming only a

corporation, its subsidiaries, and its agents. See Kriss v. Bayrock Grp. LLC, No. 10-cv-3959

(LGS), 2016 WL 7046816, at *19 (S.D.N.Y. Dec. 2, 2016) (“The intracorporate conspiracy

doctrine holds that a corporation cannot conspire with its agents.”) (citing Turkmen v. Hasty, 789

F.3d 218, 263 (2d Cir. 2015)); Merhej v. I.C.S. Int’l Custody Sys., Inc., No. 13-cv-869 (JGK), 2014

WL 104908, at *4 (S.D.N.Y. Jan. 9, 2014) (“As a matter of law, a corporation cannot conspire


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   Moreover, Alix makes the conclusory allegation that each Individual Defendant agreed to further the alleged
conspiracy based on his or her “knowledge” of the fraudulent scheme. (AC ¶¶ 549-554.) But as demonstrated
repeatedly (see supra § I.D), Alix has not sufficiently alleged fraudulent intent. And even were the Amended
Complaint found to allege knowledge of the fraud, that would not overcome its failure to allege any facts to show that
a defendant had agreed to join the conspiracy to accomplish a specific illegal objective. United States v. Monserrate-
Valentin, 729 F.3d 31, 41 (1st Cir. 2013) (“The defendant’s agreement to join the conspiracy ‘is the sine qua non of a
conspiracy’ and it is ‘not supplied by mere knowledge of an illegal activity, let alone by mere association with other
conspirators or mere presence at the scene of the conspiratorial deeds.’”); see also United States v. Svoboda, 347 F.3d
471, 479 (2d Cir. 2003) (“actual knowledge of the illegal purpose of a conspiracy is insufficient to prove a defendant’s
joinder in a conspiracy”); United States v. Larkin, 227 F. Supp. 3d 1091, 1094 (N.D. Cal. 2016) (“Mere association
with members of a conspiracy or knowledge of the conspiracy, ‘without an intention and agreement to accomplish a
specific illegal objective, is not sufficient to make one a conspirator.’” (quoting United States v. Melchor-Lopez, 627
F.2d 886, 890 (9th Cir. 1980))).

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with itself.”); Rite Aid Corp. v. Am. Express Travel Related Servs. Co., Inc., 708 F. Supp. 2d 257,

265 n.9 (E.D.N.Y. Mar. 3, 2010) (“[A] parent corporation cannot conspire with its wholly-owned

subsidiary.”); Little v. City of N.Y., 487 F. Supp. 2d 426, 441-42 (S.D.N.Y. 2007) (finding that

“officers, agents, and employees of a single corporate entity, each acting within the scope of [their]

employment are legally incapable of conspiring together”). Here, all the Corporate Defendants

are McKinsey entities, and all the Individual Defendants are alleged to have acted within the scope

of their authority as McKinsey employees.61 (See AC ¶¶ 30-33, 561.)

        H.       Alix’s RICO Claims Are Barred, in Substantial Part, by the Four-Year
                 RICO Statute of Limitations.

        RICO claims are subject to a four-year statute of limitations, running from the date the

plaintiff discovered, or should have discovered, the injury—not the claim. Koch v. Christie’s Int’l,

699 F.3d 141, 148, 150 (2d. Cir. 2012). The clock begins running “when a reasonably diligent

investigation would have revealed the injury to a person of reasonable intelligence.” Id. at 153;

see also In re Integrated Res. Real Estate Ltd. P’ships Secs. Litig., 851 F. Supp. 556, 567 (S.D.N.Y.

1994) (“The limitations period for a fraud-based RICO action commences when Plaintiffs are

placed on notice of facts which should arouse suspicion.”). This is the case even where a plaintiff

has not actually discovered its injury yet and where “the full extent of the RICO scheme is not

discovered until a later date.” Koch, 699 F.3d at 153 (quoting World Wrestling Entm’t, Inc. v.

Jakks Pac., Inc., 328 F. App’x 695, 697 (2d Cir. 2009)). Even where a “pattern of predicate acts

may well be complex, concealed, or fraudulent,” it nonetheless is “discovery of the injury, not


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  Although some courts have recognized an exception to the intracorporate conspiracy doctrine where the corporate
employees are acting for their own independent, personal reasons, Reich v. Lopez, 38 F. Supp. 3d 436, 463 (S.D.N.Y.
2014); Kriss v. Bayrock Grp. LLC, No. 10-cv-3959 (LGS), 2017 WL 1901966 at *3 (S.D.N.Y. May 8, 2017), this
exception is not implicated here. The Amended Complaint does not allege that any of the Individual Defendants’
participation in the conspiracy was driven by any improper personal interest distinct from their employment by
McKinsey, and it does allege expressly that the alleged predicate acts were committed by individuals acting within
the scope of their employment. (Am. Compl. ¶ 561.)

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discovery of the other elements of a claim [which] starts the clock.” Rotella v. Wood, 528 U.S.

549, 555-56 (2000). Moreover, a “plaintiff cannot use an independent, new predicate act as a

bootstrap to recover for injuries caused by other earlier predicate acts that took place outside the

limitations period.” Klehr v. A.O. Smith Corp., 521 U.S. 179, 181 (1997).

       The Amended Complaint alleges that AlixPartners was injured when McKinsey—rather

than AlixPartners—was approved to provide bankruptcy consulting services in each bankruptcy.

(See, e.g., AC ¶ 384 (identifying as damages “fees from bankruptcy consulting engagements

[AlixPartners] would have earned in the absence of [McKinsey’s] unlawful conduct”).)

Accordingly, the limitations period with regard to the alleged RICO predicates in connection with

each bankruptcy began when McKinsey’s retention was approved by the court—and certainly no

later than the time McKinsey’s fees were confirmed for those bankruptcies—because by each such

date it was apparent (indeed, a matter of public record) that McKinsey had been approved to serve

the debtors and was receiving consultancy fees for its work in that particular bankruptcy.

       Alix filed this action on May 9, 2018; therefore, any RICO claim based on disclosures in

the following bankruptcies must be dismissed as time-barred:

                                                                           Amended Complaint
         Case         Last Disclosure Filed          Fees Confirmed
                                                                              Paragraph
   Hayes Lemmerz         March 13, 2002             May 12, 2003                  72
       United           February 13, 2002         January 21, 2006                77
       Mirant           October 27, 2003          December 9, 2005                81
      Lyondell         September 11, 2009          April 23, 2010                 87
   Harry & David          June 17, 2011           August 29, 2011                 94
        AMR              April 18, 2013           October 21, 2013                97
    AMF Bowling        November21, 2012             June 25, 2013                104
   Edison Mission      November 23, 2013           March 11, 2014                107

        Significantly, the Amended Complaint fails to allege any predicate acts purportedly

committed by Goldstrom, Yerian, or Garcia that occurred after May 9, 2014. Yerian is alleged to

have signed Rule 2014(a) disclosures only in connection with Edison Mission. The Amended

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Complaint alleges that RTS’s fees in that case were confirmed on March 11, 2014; therefore, the

latest the statute of limitations for a RICO claim relating to Edison Mission ran was March 11,

2018. Alix did not assert claims against Yerian until September 4, 2018—well after the statute

ran—and, consequently, the Amended Complaint is untimely as to him. Smith v. Cingular

Wireless, No. 05-cv-1149 (MRK), 2006 WL 1272612, at *1 (D. Conn. Apr. 10, 2006); Nikchemny

v. Allstate Ins. Co., No. 16-cv-00407 (NGG), 2016 WL 6082034, at *3 (E.D.N.Y. Oct. 17, 2016).

         Goldstrom is alleged to have signed disclosure affidavits only in connection with the Harry

& David and AMR bankruptcies.62 Alix alleges that McKinsey’s fees for the Harry & David

bankruptcy were confirmed on August 29, 2011, and that its fees for the AMR bankruptcy were

confirmed on October 21, 2013. (AC ¶¶ 94, 97.) Accordingly, the statute of limitations for a

RICO claim relating to those bankruptcies expired on August 29, 2015 and October 21, 2017,

respectively. Alix did not assert claims against Goldstrom until May 9, 2018; the Amended

Complaint therefore is untimely as to him as well. Smith, 2006 WL 1272612, at *1; Nikchemny,

2016 WL 6082034, at *3.

         As for Garcia, the Amended Complaint is devoid of any allegations as to when he engaged

in any RICO predicate act (save for the legally insufficient claims of aiding and abetting liability).

It does not allege that he was involved in any specific bankruptcy case or filing, let alone when he

was involved. In fact, it fails to allege any dates or actionable time frame for any conduct on

Garcia’s part. Garcia thus should be dismissed. Thompson v. Jasas Corp., 212 F. Supp. 2d 21, 26

(D.D.C. 2002) (“[P]laintiff has failed to specify an actionable time frame for the alleged




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   Goldstrom is also alleged to have “aided and abetted” a RICO scheme (AC ¶ 299(h)), which cannot form a basis
for liability under RICO (see supra § I.D.1) and to have been “in communication with” other McKinsey employees
(id. at ¶¶ 105, 205) with respect to the AMF and Sun Edison bankruptcies. The AMF bankruptcy is also outside the
statute of limitations, and in any event, the conclusory allegations concerning those other bankruptcies are insufficient
to state a claim for the reasons stated above. (See supra § I.D.2.g.)

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defamation. Because plaintiff has not alleged conduct within the . . . statute of limitations . . . [the]

claim will be dismissed as time-barred.”); Jenson v. Nat’l Air Traffic Controller’s Ass’n, No. 09-

cv-336 (LRS), 2010 WL 1608678, at *1 (E.D. Wash. Apr. 15, 2010) (dismissing in part where

“there [were] no dates in conjunction with the alleged facts for the Court to review for statute of

limitations issues”).

II.     THE STATE LAW CLAIMS FAIL (COUNTS 5-7).

        A.      Alix’s Contract-Based Claims Fail (Counts 5 and 6).

        Counts 5 and 6 plead breach of contract and promissory estoppel claims against all the

Corporate Defendants based on an alleged agreement arising from oral discussions between Alix

and Dominic Barton. Specifically, Barton allegedly promised that, in exchange for delaying this

lawsuit, McKinsey would remove the senior leadership of McKinsey RTS and “exit the bankruptcy

consulting business by the end of March 2015.” (AC ¶ 570; see also id. at ¶¶ 26, 577.)

        To state a breach of contract claim “[w]here there is no written agreement between the

parties, the plaintiff must establish, ‘through the words and/or conduct of the parties, that a contract

was made and that its terms are definite.’” Spithogianis v. Haj-Darwish, No. 07-cv-4609 (PAC),

2008 WL 82188, at *4 (S.D.N.Y. Jan. 7, 2008) (quoting Zurich Ins. Grp. v. Grandurismo, Inc.,

No. 00-cv-980 (AGS), 2000 WL 1677941, at *3 (S.D.N.Y. Nov. 8, 2000)). Courts consider four

factors when determining whether parties intended to be bound by a purported oral agreement: (1)

whether an explicit statement that only a writing shall be binding exists; (2) partial performance;

(3) complete negotiation of all terms; and (4) whether the subject matter of the contract is one that

normally requires a written agreement. Pearce v. Manhattan Ensemble Theater, Inc., 528 F. Supp.

2d 175, 179 (S.D.N.Y. 2007). Likewise, a promissory estoppel claim requires “a clear and

unambiguous promise; a reasonable and foreseeable reliance by the party to whom the promise is

made; and an injury sustained by the party asserting the estoppel by reason of his reliance.” Banco

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Espirito Santo de Investimento, S.A. v. Citibank, N.A., No. 03-cv-1537 (MBM), 2003 WL

23018888, at *6 (S.D.N.Y. Dec. 22, 2003).

       The alleged conversations between Alix and Barton described in the Amended Complaint

fail to plead an enforceable agreement under either traditional contract or estoppel theories. First,

an agreement for McKinsey not to compete with a competitor would be unreasonably in restraint

of trade and, therefore, unenforceable on grounds of public policy. See Restatement (Second) of

Contracts § 186. Second, the terms of the purported agreement are indefinite and vague: the

definition of “senior management,” the length of time in which Alix supposedly agreed to

“forebear[] from instituting legal action,” the details of how RTS would exit the market (including

what would happen to its clients and employees), and other key details of the supposed agreement

are missing. In re Merrill Lynch Auction Rate Secs. Litig., 886 F. Supp. 2d 340, 346 (S.D.N.Y.

2012) (dismissing claim for breach of oral contract where alleged oral promise was “highly general

and prospective in nature” such that enforcement would be “unreasonable”); Zikakis v. Staubach

Retail Servs., Inc., No. 04-cv-9609 (NRB), 2005 WL 2347852, at *6 (S.D.N.Y. Sept. 26, 2005)

(same in promissory estoppel context). Third, the subsequent actions of the parties belie the

formation of a contract. Alix contends that he refrained from filing this lawsuit in reliance on a

promise that McKinsey would exit the restructuring market by the Spring of 2015; but after that

did not happen, and RTS continued to obtain chapter 11 assignments, he waited over three years

to bring this action. And Barton took no action following the purported contract that indicates any

intent to be bound by the alleged agreement. Milton Abeles, Inc. v. Farmers Pride, Inc., No. 03-

CV-6111 (DLI) (WDW), 2007 WL 2028069, at *2 (E.D.N.Y. July 11, 2007) (dismissing breach

of contract claim that violated statute of frauds because plaintiff presented no evidence defendant

took action consistent with formation of an oral contract). Fourth, an agreement that involved



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dismantling an entire McKinsey business unit which, as alleged by Alix, has earned more than

$100 million in fees, is not the kind of agreement that possibly could be oral. See Stein v. Gelfand,

476 F. Supp. 2d 427, 432 (S.D.N.Y 2007) (noting that transactions implicating “a host of other

matters that quite plainly had to be dealt with in a multimillion dollar transaction before anyone

was legally committed” would be written); Southwick Clothing LLC v. GFT (USA) Corp., No. 99-

cv-10452 (GBD), 2004 WL 2914093, at *15 (S.D.N.Y. Dec. 13, 2004) (dismissing promissory

estoppel claim where “reliance on [promises] would be unreasonable, given the complex

commercial venture at issue”). Fifth, Alix pleads no facts to show that Barton had authority to

cause RTS to leave the bankruptcy consulting business. Finally, Alix has not alleged any harm

flowing from the breach of these promises and his forbearance from suing, but even if he had, his

failure to mitigate any such damages by promptly bringing suit would bar his recovery. House of

Eur. Funding I, Ltd. v. Wells Fargo Bank, N.A., No. 13-cv-519 (RJS), 2014 WL 1383703, at *10

(S.D.N.Y. Mar. 31, 2014); Kaye v. Grossman, 202 F.3d 611, 615 (2d Cir. 2000); Air et Chaleur,

S.A. v. Janeway, 757 F.2d 489, 494 (2d Cir. 1985) (“New York’s courts adhere to the universally

accepted principle that a harmed plaintiff must mitigate damages.”).

       B.      Alix’s Tortious Interference Claim Fails (Count 7).

       Finally, in Count 7, Alix alleges a tortious interference with business expectancy claim

against all the Corporate Defendants. He rests this claim on the naked allegations that (1)

“[AlixPartners] had an expectancy that it would be retained by Alpha Natural Resources and/or

AMF Bowling Worldwide, Inc.,” (2) “AMF Bowling involved a market in which [AlixPartners]

employees at the time had deep and broad-ranging experience that made [AlixPartners] well-suited

to advise the debtors,” and (3) the Corporate Defendants “each knew that [AlixPartners] offered

bankruptcy consulting services in high-end bankruptcy proceedings and likely would have been

retained by one or both” debtors. (AC ¶¶ 583-84.) To say that these allegations fail to plead facts
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in support of this claim is an understatement. Nowhere in the Amended Complaint does Alix

allege, as he must, that AlixPartners had any interactions with these debtors regarding the supposed

“business expectancy” or even bid on the assignments in these bankruptcies.63 RSM Prod. Corp.

v. Fridman, 643 F. Supp. 2d 382, 411 (S.D.N.Y. 2009) (“Plaintiffs must demonstrate that, at the

time of Defendants’ alleged interference, Plaintiffs were engaged in ‘a continuing business or other

customary relationship not amounting to a formal contract’ with the third party.”) (quoting Hannex

Corp. v. GMI Inc., 140 F.3d 194, 205 (2d Cir. 1998)); Nadel v. Play-By-Play Toys & Novelties,

Inc., 208 F.3d 368, 382 (2d Cir. 2000) (setting forth pleading requirements). Nor does Alix allege,

as he must, that McKinsey purposefully interfered with AlixPartners’s hypothetical retention by

filing purportedly misleading disclosures with the “sole purpose of harming” AlixPartners. See

RSM, 643 F. Supp. 2d at 412 (“An action taken in economic self-interest is not an action taken ‘for

the sole purpose of inflicting intentional harm on plaintiffs.”); Nadel, 208 F.3d at 382 (setting forth

elements of tortious interference under New York law).64 The disclosures on which the claims are



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  Indeed, Alix alleges that AlixPartners was not even asked to pitch in ANR (AC ¶ 383(b)), making his claim of a
business expectancy in being hired even more dubious.
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  Although Alix styles his claim under Virginia law (likely to avoid the more stringent requirement under New York
law of showing that McKinsey acted with the sole purpose of harming AlixPartners), New York law applies. “[I]n
diversity cases, federal courts must look to the laws of the forum state to resolve issues regarding conflicts of law.”
Krock v. Lipsay, 97 F.3d 640, 645 (2d Cir. 1996). The same principle applies where a federal court exercises
supplemental jurisdiction over state law claims. Rostropovich v. Koch Int’l Corp., No. 94-cv-2674 (JFK), 1995 WL
104123, at *8 (S.D.N.Y. Mar. 7, 1995). The forum state here is New York, which applies an “interests analysis”
where the substantive law differs between the possible jurisdictions. Globalnet Financial.com, Inc. v. Frank Crystal
& Co., 449 F.3d 377, 384 (2d Cir. 2006). In fraud cases, New York courts look to the place where the injury
occurred—not the place where the alleged fraud was committed—to determine the forum with the greater “interest.”
See, e.g., Oliver Wyman, Inc. v. Eielson, No. 15-cv-5305 (RJS), 2016 WL 5339549, at *4 (S.D.N.Y. Sep. 22, 2016).
Purported injuries to AlixPartners would have flowed to New York (where AlixPartners is headquartered), and thus
New York law should apply. Even if this Court applied the law of the place of the alleged tort, e.g., Licci v. Lebanese
Canadian Bank, SAL, 672 F.3d 155, 158 (2d Cir. 2012) (applying New York law to tort claim because “challenged
conduct” occurred in New York), New York law would apply because the gravamen of this Action concerns purported
racketeering conduct emanating from New York. Aqua Master Enters., Inc. v. Anderson, No. 16-cv-6776 (LGS),
2018 WL 1009264, at *3 (S.D.N.Y. Jan. 30, 2018). And the claim fails even under Virginia law, because Alix has
not pleaded the existence of a valid contractual relationship or business expectancy, knowledge of the relationship or
expectancy on the part of Defendants, intentional interference, or resulting damage to AlixPartners. See 17th St.
Assocs., LLP v. Markel Int’l Ins. Co., 373 F. Supp. 2d 584, 600 (E.D. Va. 2005).

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based establish that the purpose in disclosing connections by category, rather than by name, was

to protect the confidentiality interests of McKinsey clients.

       Moreover, Alix’s state law tortious interference claim, which purports to impose liability

on a bankruptcy professional for procuring a retention through improper disclosures, is preempted

by federal law. As explained above, the federal Bankruptcy Code and the bankruptcy rules

promulgated thereunder address the method by which bankruptcy professionals are hired,

approved, and supervised, and also provide for a host of remedies that the bankruptcy court can

impose for violations of these provisions. See 11 U.S.C. §§ 327, 328(c); Fed. R. Bankr. P. 9011.

Given this complex scheme, courts have rejected attempts by plaintiffs to seek state law remedies

for conduct in a bankruptcy case—including with respect to the filing of pleadings. See Astor

Holdings v. Roski, 325 F. Supp. 2d 251, 263 (S.D.N.Y. 2003) (federal law preempts state tort claim

relating to alleged filing of bankruptcy pleadings in bad faith); see also In re E. Equip. & Servs.

Corp., 236 F.3d 117, 121-22 (2d Cir. 2001) (bankruptcy sanctions provisions preempt state law

remedies for violation of automatic stay); Gonzales v. Parks, 830 F.2d 1033 (9th Cir. 1987) (state

law remedies for abuse of process in bankruptcy court preempted). This is the case even where a

fraud on the bankruptcy court is alleged. See, e.g., Holloway v. Household Auto. Fin. Corp., 227

B.R. 501, 507 (N.D. Ill. 1998) (claimant’s state law claim for violation of the Illinois Consumer

Fraud and Deceptive Practices Act relating to a fraudulent filing of proof of claim preempted as

“the expansive reach of the Code preempts virtually all claims relating to alleged misconduct in

the bankruptcy courts”). Because Alix seeks to impose state law remedies for a claim that requires

adjudication of whether McKinsey’s disclosures in the ANR and AMF Bowling bankruptcies

comported with federal bankruptcy law, Count 7 is preempted and should be dismissed.




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                                                 CONCLUSION

         For all the reasons stated above, Defendants respectfully request that the Court dismiss

each of Counts 1 through 4, for violations of RICO Sections 1962(c) and 1962(d), with prejudice

as to all Defendants, and Counts 5, 6, and 7, for breach of contract, promissory estoppel, and

tortious interference with business expectancy, respectively, with prejudice as to the Corporate

Defendants.65


 Dated:     October 10, 2018                            Respectfully submitted,
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  This Court’s August 1, 2018 Order specifies that, after amending, “Plaintiff will not be given any further opportunity
to amend the complaint to address issues raised by the motion to dismiss.” (Dkt. #66.)

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